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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND, et al.,                       *

       Plaintiffs,                               *

v.                                               *          Civ. No. DLB-25-1363

CORPORATION FOR NATIONAL AND                     *
COMMUNITY SERVICE, operating as
AmeriCorps, et al.,                              *

       Defendants.                               *

                                  MEMORANDUM OPINION

       AmeriCorps is the nation’s national service agency. AmeriCorps operates national service

programs and funds service programs operated by states, local governments, nonprofits, and

universities. For more than 20 years, AmeriCorps has placed thousands of full- and part-time

volunteers in service programs in every state. These volunteers, supported by federally funded

living stipends, childcare and health benefits, and education awards, work on programs that target

AmeriCorps’s national service priorities such as conservation and protection of forests and public

lands, public health initiatives, veterans support, and educational programs. Through AmeriCorps-

funded programs, volunteers help some of the most vulnerable populations in the country, such as

veterans transitioning from combat, homebound seniors, children with learning disabilities, and

people struggling with substance abuse. When hurricanes, floods, and wildfires strike the states,

AmeriCorps deploys volunteers to support relief, recovery, and rebuilding efforts. These

volunteers represent the best of us.

       Throughout the month of April—National Volunteer Month—AmeriCorps made

sweeping, across-the-board cuts to service programs. On April 15, 2025, the agency ordered all

members of the National Civilian Community Corps—a full-time residential volunteer program
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for young adults serving on short-term volunteer projects nationwide—to leave their assigned

posts pending their termination from the program. The next day, AmeriCorps placed 85 percent of

its staff on administrative leave. In the following days, AmeriCorps reduced its workforce from

more than 700 employees to 116 employees. On April 25, AmeriCorps terminated over 1,000

grants for AmeriCorps-funded programs across the country, ordered those programs closed, and

forced the exit of roughly 30,000 volunteers working on the programs. The reason: “[T]he award[s]

no longer effectuate[] agency priorities.” In so doing, AmeriCorps axed roughly half of its grant

funding, including 80 percent of the grants awarded under its largest program, AmeriCorps State

and National, which funds service projects for communities most in need. 1

         Twenty-four states and the District of Columbia filed suit. They seek a preliminary

injunction enjoining the defendants from “dismantling” AmeriCorps. For the following reasons,

the preliminary injunction is granted in part and denied in part. Before AmeriCorps could make

any significant changes to service delivery, it first had to engage in notice-and-comment

rulemaking. It did not. As a result, the States have been irreparably harmed. The balance of the

equities and the public interest weigh in favor of preliminary injunctive relief.

    I.        Background

         A.     The History of AmeriCorps




1
  Two days before the mass grant termination, the President proclaimed the week National
Volunteer Week. Proclamation No. 10,923, 90 Fed. Reg. 17517 (Apr. 28, 2025). The Presidential
proclamation stated: “We pay tribute to every American who gives their time and talents in service
to our Nation. We celebrate their selfless spirit — the driving force that inspires them to uplift
others and serve a purpose greater than their own. In times of need, the American people emerge
stronger than ever.” Id. The President “call[ed] upon all Americans to observe this week by
volunteering in service projects across our country and pledging to make service a part of their
daily lives.” Id.


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       The Corporation for National and Community Service (“CNCS”), operating as

“AmeriCorps,” is a federal agency that “administer[s] the programs established under the national

service laws.” 42 U.S.C. § 12651; see 45 C.F.R. § 2500.2(a). The agency’s origins date back to the

Domestic and Volunteer Service Act of 1973, which established Volunteers in Service to America

(“VISTA”), the National Older Americans Volunteer Program, and the “ACTION Agency”

charged with operating these programs. Pub. L. No. 93-113, § 401, 87 Stat. 394, 405 (“the 1973

Act”). In 1990, Congress authorized new grant programs to support additional service initiatives

and established a “Commission on National and Community Service” to administer the new

programs. National and Community Service Act of 1990, Pub. L. No. 101-610, § 190, 104 Stat.

3127, 3168 (“the 1990 Act”). In 1993, Congress merged the Commission on National and

Community Service with the ACTION Agency to form CNCS, known today as AmeriCorps.

National and Community Service Trust Act of 1993, Pub. L. No. 103-82, §§ 191 & 203(c)(2), 107

Stat. 785, 873, 892 (“the 1993 Act”) (codified at 42 U.S.C. §§ 12501 et seq.).

       Congress created AmeriCorps in part to “renew the ethic of civic responsibility and the

spirit of community and service,” to “encourage citizens of the United States . . . to engage in full-

time or part-time national service,” and to “leverage Federal investments to increase State, local,

business, and philanthropic resources to address national and local challenges.” 42 U.S.C. § 12501.

       B.      Agency Structure

       AmeriCorps is a government corporation led by a Chief Executive Officer (“CEO”) and a

bipartisan Board of Directors (“Board”). Id. §§ 12651, 12651a(a)(2)(E), 12651c. The CEO and

Board are appointed by the President with the advice and consent of the Senate. Id.

§§ 12651a(a)(1), 12651c(a). The Board “ha[s] [the] responsibility for setting overall policy for the

Corporation” and “review[s] and advise[s] the [CEO] regarding[] the actions of the [CEO] with




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respect to the personnel of the Corporation, and with respect to such standards, policies,

procedures, programs, and initiatives as are necessary or appropriate to carry out the national

service laws.” Id. § 12651b(g)(5)(A). The CEO is “responsible for the exercise of the powers and

the discharge of the duties of the Corporation that are not reserved to the Board” and has “authority

and control over all personnel of the Corporation,” except for the decisions reserved for the

Inspector General. Id. § 12651d(a) (citing 5 U.S.C. § 414). The CEO also may “generally perform

such functions and take such steps consistent with the objectives and provisions of the national

service laws, as the Chief Executive Officer determines to be necessary or appropriate to carry out

such provisions.” Id. § 12651d(c)(11).

       AmeriCorps also employs agency staff. Prior to the events that led to this litigation, the

agency employed approximately 720 people across the country, including staff who reviewed grant

applications, managed service projects and grants, or provided training to individuals participating

in service projects. See ECF 124-1, ¶¶ 7, 25 (AmeriCorps Emps. Union Pres. decl.).

       C.      AmeriCorps Programs

       Pursuant to its statutory authority, AmeriCorps operates various grant programs and other

service initiatives, including AmeriCorps State and National, the National Civilian Community

Corps, VISTA, and several others.

               1. AmeriCorps State and National

                       a. AmeriCorps State and National Grants

       One of AmeriCorps’s largest grant programs is known as “AmeriCorps State and National.”

See ECF 1, ¶ 78. AmeriCorps is authorized by statute to “make grants to States, subdivisions of

States, territories, Indian tribes, [and] public or private nonprofit organizations” to “carry out . . .

national service programs” and to “make grants in support of other national service programs . . .




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that are carried out by other entities.” See 42 U.S.C. § 12571(a). Authorized grants include

planning grants, which fund, for up to one year, the development of a service program; operational

grants, which fund, for up to three years, the “establishment, operation, or expansion” of a service

program; and replication grants, which fund, for up to three years, expansion of proven service

programs to other geographic locations. See 42 U.S.C. § 12574; 45 C.F.R. § 2521.20.

       The statute authorizing the grants also stipulates how these funds must be allotted.

AmeriCorps must allot a certain amount of funding to “formula grants” in each state, the District

of Columbia, and Puerto Rico. These grants are distributed according to the following formulas:

       (1) Of the funds allocated by [AmeriCorps] for provision of assistance under
           section 12571(a) . . . for a fiscal year, the Corporation shall make a grant to each
           of the several States, the District of Columbia, and the Commonwealth of
           Puerto Rico that submits an application . . . that is approved by the Corporation.

       (2) . . . [AmeriCorps] shall allot for a grant to each such State under this subsection
           for a fiscal year an amount that bears the same ratio to 35.3 percent of the
           allocated funds for that fiscal year as the population of the State bears to the
           total population of the several States, the District of Columbia, and the
           Commonwealth of Puerto Rico, in compliance with paragraph (3).

       (3) . . . Notwithstanding paragraph (2), the minimum grant made available to each
           State approved by [AmeriCorps] under paragraph (1) for each fiscal year shall
           be at least $600,000, or 0.5 percent of the amount allocated for the State formula
           under this subsection for the fiscal year, whichever is greater.

42 U.S.C. § 12581(e); see also id. § 12581(a)–(b). Of the AmeriCorps State and National grant

funds available, roughly one-third are allotted as formula grants to states. See 45 C.F.R.

§ 2521.30(a).

       States also may apply for “direct” grants. These grants are awarded on a competitive basis

to states as well as nonprofits and Indian tribes. 42 U.S.C. § 12581(d)(1). AmeriCorps also awards

these direct grants to local governments and higher education institutions. 45 C.F.R. § 2521.10(a);

see also, e.g., ECF 5-6, ¶ 7 (Calif. decl.). Whereas states are allotted a certain amount of funding




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through formula grants, states must compete against non-state entities for direct grants. “[N]ot

more than 62.7 percent” of AmeriCorps State and National grant funds may be awarded as direct

grants. 42 U.S.C. § 12581(d)(1).

        The awarding of AmeriCorps State and National grants is governed by certain “service

priorities.” See id. § 12572(f)(1). AmeriCorps establishes national service priorities for programs

funded through AmeriCorps State and National direct grants. See id. § 12572(f)(1)(A). The statute

requires the agency to “provide advance notice to potential applicants of any national service

priorities to be in effect under this subsection for a fiscal year” and “by regulation establish

procedures to ensure the equitable treatment of national service programs” that “receive funding

under this division for multiple years” and “would be adversely affected by annual revisions in

such national service priorities.” Id. § 12572(f)(2)–(3). The statute also requires states to “establish,

and . . . periodically alter priorities as appropriate regarding the national service programs to be

assisted” under formula grants. Id. § 12572(f)(1)(B). State priorities for formula grants are “subject

to [the agency’s] review as part of the application process.” Id. Under current agency regulations,

“[a] State may apply priorities different than those of AmeriCorps in selecting its formula

programs.” 45 C.F.R. § 2522.460(b).

        With funds from formula and direct grants, states may operate service programs through

subgrants to other entities, such as non-profit organizations. See 42 U.S.C. § 12572(b)(1); see also,

e.g., ECF 5-8, ¶ 8 (Colo. decl.) (“[T]he AmeriCorps agency administers a separate, nationally

competitive grant process. In this process, the State Service Commission selects and submits

single-state applications for consideration in the federally managed competition.”); ECF 5-45, at

11–12 (listing Wisconsin’s state service commission subgrantees for AmeriCorps formula and

competitive grants). For formula grants, states select programs to fund with their allotment. See,




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e.g., ECF 5-39, ¶ 7 (R.I. decl.). States also can award planning grants for development of new

AmeriCorps programs. See, e.g., ECF 5-20, ¶ 14 (Mass. decl.). For direct grants, states also select

programs as subgrantees when they apply for AmeriCorps funding. See, e.g., ECF 5-12, ¶ 8 (Del.

decl.). However, unlike with formula grants, states competing for direct grants must submit their

selected subgrantees for AmeriCorps approval, AmeriCorps selects the subgrantees, and states

administer the grant for the selected programs or planning grants. See, e.g., ECF 5-31, ¶¶ 6–7 (N.J.

decl.); see also 45 C.F.R. § 2521.20(a)–(b).

       AmeriCorps grant recipients generally must supply matching funds for AmeriCorps

awards. See 42 U.S.C. § 12571(e); 45 C.F.R. §§ 2521.35, 2521.70. States may meet their match

requirements through their subgrantees. See 45 C.F.R. § 2521.60(a)(2). Private donors and

philanthropies often supply matching funds. See, e.g., ECF 5-39, ¶ 65 (R.I. decl.).

       Like all AmeriCorps program funding, AmeriCorps State and National grants must “be

used only for a program that does not duplicate, and is in addition to, an activity otherwise available

in the locality of such program.” 42 U.S.C. § 12637(a).

                       b. AmeriCorps State and National Members

       AmeriCorps State and National programs are carried out by individuals participating in

full- or part-time community service for finite service terms. These “AmeriCorps members” are

enrolled in approved national service positions in the awarded program. See 42 U.S.C. §§ 12572,

12581(d)(1), 12582. AmeriCorps members engage in activities such as staffing food pantries,

contributing to wildfire recovery efforts, tutoring students, and doing vital sign checks for

individuals with chronic illness. See, e.g., ECF 5-4, ¶ 35 (Ariz. decl.); ECF 5-6, ¶ 14 (Calif. decl.);

ECF 5-8, ¶ 49(a) (Colo. decl.); ECF 5-35, ¶ 6 (N.Y. decl.); ECF 5-45, ¶ 9(c) (Wisc. decl.).

AmeriCorps members are not considered employees of the organizations in which they serve, nor




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are they considered federal employees. See 42 U.S.C. § 12511(30); 45 C.F.R. § 2523.100.

Members receive a living allowance and health insurance, and full-time members are eligible for

childcare needed to allow the member’s participation in the service program. 42 U.S.C. § 12594(a),

(d)–(e). AmeriCorps members also receive an education award that can be used for the cost of

attendance at higher education institutions, for student loan repayment, and for other select

education-related expenses. Id. § 12604. Members receive an award “equal to the maximum

amount of a Federal Pell Grant” after they complete full-time service or half of this value for part-

time service. Id. § 12603(a)–(b). If a member is released early for compelling personal

circumstances, they can receive a prorated education award. Id. § 12603 (citing id. §

12593(c)(1)(A)).

       Organizations participating in AmeriCorps programs cannot “displace an employee,

position, or volunteer (other than a participant under the national service laws), including partial

displacement such as reduction in hours, wages, or employment benefits, as a result of the use by

such employer of a participant in a program receiving assistance under the national service laws.”

Id. § 12637(b).

       For operational grants, funding to states and their subgrantees goes in part towards

members’ living allowances. See, e.g., ECF 5-16, ¶ 13 (“In Program Year 2024, Serve Illinois

received $28,992,935 in federal funding . . . . This funding goes towards paying AmeriCorps

members a living allowance for their service year.”); ECF 5-45, ¶ 8 (Wisc. decl.) (“The

AmeriCorps grant funds received by those entities pay for the living allowances of AmeriCorps

members . . . .”). Other expenses paid by grants include, for example, program operations, see,

e.g., ECF 5-16, ¶¶ 13–14 (Ill. decl.), recruitment and management of AmeriCorps members, see,

e.g., ECF 5-4, ¶ 12 (Ariz. decl.), and monitoring and compliance costs, see, e.g., ECF 5-39, ¶ 8




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(R.I. decl.). Education awards for members are not funded by grants. They are paid directly by

AmeriCorps out of the “National Service Trust” established by Congress in part for this purpose.

See 42 U.S.C. §§ 12601, 12604. 2

       AmeriCorps may “suspend or terminate payments” under its grants or “revoke the

designation of [national service] positions” related to a grant “whenever the Corporation

determines there is a material failure to comply with this subchapter or the applicable terms and

conditions of any such grant or contract.” Id. § 12636(a)(1). However, “assistance provided under

this subchapter shall not be terminated or revoked for failure to comply with applicable terms and

conditions of this subchapter unless the recipient of such assistance has been afforded reasonable

notice and opportunity for a full and fair hearing.” Id. § 12636(a)(2)(B).

               2. The National Civilian Community Corps

       The AmeriCorps statute also authorizes the creation of the National Civilian Community

Corps (“NCCC”). See id. § 12612(a). The NCCC is a full-time, residential service program for

young adults who work on projects involving disaster relief, home construction, and trail

maintenance. ECF 1, ¶ 58(a). AmeriCorps directly oversees the NCCC program, but NCCC

members are not considered federal employees except for the limited purposes of work-related

injuries and tort liability. Id. ¶ 58; 42 U.S.C. §§ 12615(a), 12620. NCCC members are assigned to

regional campuses and deployed to states to conduct service projects to “meet an identifiable

public need,” with an “emphasis on projects in support of infrastructure improvement, energy

conservation, and urban and rural development.” 42 U.S.C. §§ 12615(c)–(d), 12617(a)(1). One



2
  Planning grants do not have any AmeriCorps members. See, e.g., ECF 5-38, ¶ 7 (Penn. decl.).
“Education Award Programs” enroll AmeriCorps members but are not required to provide
members with a living allowance or other AmeriCorps member benefits. See 42 U.S.C. § 12581a.
Members who serve in an Education Award Program are still eligible for an education award. See
id.


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sub-programs of the NCCC is a partnership with the Federal Emergency Management Agency

(“FEMA”), called “FEMA Corps,” which “places members in service positions to perform disaster

public assistance, planning, preparedness, and recovery activities.” 45 C.F.R. § 2500.20(a)(1).

AmeriCorps’s Disaster Service Unit, a department within AmeriCorps, “coordinates with FEMA

to secure funding to mobilize AmeriCorps NCCC and AmeriCorps State and National members

under a federally declared disaster.” See id.; ECF 5-8, ¶ 33(d) (Colo. decl.). Another NCCC sub-

program, Forest Corps, “places members in service positions to perform wildfire mitigation,

reforestation, and climate resiliency activities.” 45 C.F.R. § 2500.20(a)(1). Teams of NCCC

members have responded to wildfires and helped with hurricane relief efforts. See, e.g., ECF 5-28,

¶ 13 (Mich. decl.); ECF 124-1, ¶ 17 (AmeriCorps Emps. Union Pres. decl.). Like AmeriCorps

members enrolled in programs funded by AmeriCorps State and National grants, NCCC members

receive a living allowance, health insurance, and upon completion of service, an education award.

See 42 U.S.C. § 12618.

               3. VISTA

       VISTA is an AmeriCorps program that dates back to the 1973 Act, which “provide[d] for

the [VISTA] program of full-time volunteer service” in order “to strengthen and supplement efforts

to eliminate and alleviate poverty.” Id. § 4951. The VISTA program partners with organizations to

send members across the country for service projects. See 45 C.F.R. § 2500.20(a)(4). VISTA

members are placed at both private organizations and state and local government agencies. See id.

§ 2566.100.

       VISTA members, like AmeriCorps and NCCC members, are not considered federal

employees except for limited purposes under federal law, such as tort liability. See 42 U.S.C.

§ 5055(a). They receive a living allowance, health coverage, and childcare—paid directly by




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AmeriCorps—and are eligible for an education award or a cash stipend upon completion of

service. See 42 U.S.C. §§ 4955, 12595. AmeriCorps also provides grants to entities that conduct

VISTA-supported projects. See id. §§ 4960, 5081; ECF 5-11, at 14–15 (Del. decl.). State

instrumentalities, such as state agencies, may host VISTA members and receive VISTA support

grants. See, e.g., ECF 5-21, ¶ 10(a) (Md. decl.).

               4. Other AmeriCorps Programs

       There are several other AmeriCorps programs. Most relevant to this case are AmeriCorps

Seniors, a compilation of service initiatives for older Americans; the Volunteer Generation Fund,

which awards grants for capacity building and organization infrastructure; research grants that

support research on national service and service-learning; and Days of Service grants, which fund

service activities conducted in conjunction with honoring Dr. Martin Luther King, Jr. and the

September 11th Day of Service and Remembrance. See 42 U.S.C. §§ 5001, 12653, 12653p. Some

of these grants are awarded to states and then distributed to subgrantees. See, e.g., ECF 5-12, ¶ 10

(Del. decl.); ECF 5-45, ¶ 10 (Wisc. decl.).

       D.      State Service Commissions

       To receive AmeriCorps grant funding and national service positions, states must “maintain

a State Commission on National and Community Service.” 42 U.S.C. § 12638(a)(1). With the

agency’s permission, states can entrust the duties of a so-called “state service commissions” to a

private entity. See id. State service commissions administer grants awarded to states, including

direct and formula AmeriCorps State and National grants, and conduct their own competitive

processes to select subgrantees. See, e.g., ECF 5-4, ¶ 10 (Ariz. decl.). State service commissions

administer other grants as well, including Volunteer Generation Fund grants. See 42 U.S.C.

§ 12653p(b); see, e.g., ECF 5-20. ¶ 8 (Mass. decl.). AmeriCorps also awards separate grants to




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fund state service commission operations, known as Commission Support Grants and Commission

Investment Fund Grants. See 42 U.S.C. § 12574; see also, e.g., ECF 5-8, ¶ 34(d) (Colo. decl.);

ECF 5-36, ¶ 4 (Or. decl.). Formula grant funding also can provide administrative support for grant

administration, see ECF 5-4, ¶ 10 (Ariz. decl.), and state service commissions may retain a

percentage of a grant for the cost of administration, see, e.g., ECF 5-8, ¶ 34(b) (Colo. decl.); ECF

5-20, ¶ 7 (Mass. decl.).

       Every organization that applies for AmeriCorps State and National direct grants must

“consult with and coordinate activities with the State Commission for each State in which the

program will operate . . . .” 42 U.S.C. § 12583(c)(3); see also 45 C.F.R. § 2550.80(a).

       E.      Congressional Appropriations

       AmeriCorps programs are funded by annual congressional appropriations. In Fiscal Year

2024, Congress appropriated $975,525,000 “[f]or necessary expenses for [AmeriCorps] to carry

out [the 1973 Act] and [the 1990 Act].” Further Consolidated Appropriations Act, 2024 (“2024

Appropriations Act”), Pub. L. No. 118-47, 138 Stat. 460, 694. The annual appropriations bill also

stated that “of the amounts provided under this heading . . . $19,538,000 shall be available to

provide assistance to State commissions on national and community service” under the statute

authorizing State Commission Support Grants, “$37,735,000 shall be available to carry out” the

statute authorizing the establishment of the NCCC, and “$8,558,000 shall be available for expenses

authorized” by the statute authorizing the Volunteer Generation Fund, which “shall be awarded by

CNCS on a competitive basis.” Id. at 694–95. In the joint explanatory statement accompanying

the bill, Congress indicated that $557,094,000 of the funds appropriated was for AmeriCorps State

and National grants, $103,285,000 was for the VISTA program, and $236,917,000 was for

AmeriCorps Seniors. See 170 Cong. Rec. H2060–61 (daily ed. Mar. 22, 2024).




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         In Fiscal Year 2024, Congress also appropriated $180 million to the National Service Trust

“to remain available until expended”; $99,686,000 “[f]or necessary expenses of administration,”

including “payment of salaries” and expenses such as “employment of experts and consultants” or

“authorized travel”; and $7,595,000 “[f]or necessary expenses of [AmeriCorps’s] Office of

Inspector General.” See 2024 Appropriations Act, 138 Stat. at 694.

         In addition to appropriating funds, Congress included an “administrative provision[]” for

Fiscal Year 2024 that “[AmeriCorps] shall make any significant changes to program requirements,

service delivery or policy only through public notice and comment rulemaking.” 2024

Appropriations Act § 401, 138 Stat. at 695.

         For Fiscal Year 2025, Congress appropriated the same amounts “under the authority and

conditions” of the Fiscal Year 2024 appropriations act. See Full-Year Continuing Appropriations

& Extensions Act, 2025 (“2025 Appropriations Act”), Pub. L. No. 119-4, § 1101(a), 139 Stat. 9,

10–11.

         F.     Recent Changes to AmeriCorps

         On February 11, 2025, President Donald J. Trump issued Executive Order 14210,

“Implementing the President’s ‘Department of Government Efficiency’ Workforce Optimization

Initiative.” Exec. Order No. 14,210, 90 Fed. Reg. 9669 (Feb. 11, 2025) (“Workforce Optimization

Order”). The Workforce Optimization Order’s purpose is “[t]o restore accountability to the

American public” by “commenc[ing] a critical transformation of the Federal bureaucracy.” Id. § 1.

It further states that “[b]y eliminating waste, bloat, and insularity, [the] Administration will

empower American families, workers, taxpayers, and our system of Government itself.” Id. To

accomplish this purpose, the order directs agency heads to “promptly undertake preparations to

initiate large-scale reductions in force (RIFs).” Id. § 3(c).




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       On February 26, 2025, President Trump issued Executive Order 14222, “Implementing the

President’s ‘Department of Government Efficiency’ Cost Efficiency Initiative.” Exec. Order No.

14,222, 90 Fed. Reg. 11095 (Feb. 26, 2025). To “commence[] a transformation in Federal spending

on contracts, grants, and loans to ensure Government spending is transparent and Government

employees are accountable to the American public,” the order instructs agency heads to, among

other things, consult with the Department of Government Efficiency (“DOGE”) “team lead” to

“review all existing covered contracts and grants and, where appropriate and consistent with

applicable law, terminate or modify (including through renegotiation) such covered contracts and

grants to reduce overall Federal spending or reallocate spending to promote efficiency and advance

the policies of [the] Administration.” Id. § 3(b). “Covered contracts and grants” are defined as

“discretionary spending through Federal contracts, grants, loans, and related instruments, but

excludes direct assistance to individuals; expenditures related to immigration enforcement, law

enforcement, the military, public safety, and the intelligence community; and other critical, acute,

or emergency spending, as determined by the relevant Agency Head.” Id. § 2(d).

               1. Staffing decisions

       On April 8, 2025, AmeriCorps informed its employees that it was taking steps to comply

with the Workforce Optimization Order by initiating, among other things, a deferred resignation

program and a reduction in force of “up to 50 percent or more.” ECF 124-1, at 14 (AmeriCorps

Emps. Union Pres. decl.). On April 16, 2025, after consulting with the DOGE team at AmeriCorps,

defendant and AmeriCorps Interim Agency Head Jennifer Bastress Tahmasebi placed 85 percent

of the agency’s staff on administrative leave. ECF 1-3, at 2. Additionally, a “significant number”

of AmeriCorps staff who supported the NCCC program elected to take the deferred resignation

option. Id. This left 106 “core staff” members and nine staff in the Office of General Counsel. Id.




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Roughly one week later, AmeriCorps began sending out reduction in force (“RIF”) notices to

employees on administrative leave. ECF 1, ¶ 6; see ECF 124-1, ¶ 21 (AmeriCorps Emps. Union

Pres. decl.). Kelly Daly, president of the AmeriCorps Employees Union and an employee impacted

by the RIF, has learned from remaining staff that 116 AmeriCorps employees are left, down from

roughly 720 employees before the RIFs. ECF 124-1, ¶ 25. The RIF impacted approximately 90

percent of the union’s bargaining unit. Id. The RIFs have left one employee to manage and disburse

funds from the National Trust Service; that employee now is responsible for processing up to

29,801 education awards for AmeriCorps members. Id. ¶ 26. Seventeen portfolio managers and

senior portfolio managers now manage AmeriCorps State and National, VISTA, and AmeriCorps

Seniors, which previously required “hundreds of staff.” Id. ¶ 27.

               2. NCCC Terminations

       On April 15, 2025, AmeriCorps sent an email to NCCC members with the subject line

“Letter to All Members on Demobilization.” ECF 1-2, at 2. The email stated:

       In alignment with the Trump-Vance Administration priorities and Executive Order
       14222, “Implementing the President’s ‘Department of Government Efficiency’
       Cost Efficiency Initiative,” AmeriCorps NCCC is working within new operational
       parameters that impact the program’s ability to sustain program operations. As a
       result, AmeriCorps is sending all NCCC members to their homes of record as
       soon as possible.

       At this time, all teams are directed to return to their Region campus
       immediately—as soon as is safely practicable. NCCC Members will be moved
       into administrative hold with pay status through April 30th, 2025, after which they
       will be exited from the NCCC program. The program will exit all Members early
       with Compelling Personal Circumstances (CPC) status.




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Id. Bastress Tahmasebi sent an email on April 17, 2025 that states: “AmeriCorps made the decision

to place more than 750 AmeriCorps NCCC members on administrative leave through April 30,

2025, at which point their terms will conclude.” ECF 1-3, at 3. 3

       On April 29, 2025, AmeriCorps informed individuals invited to join the Forest Corps that

“AmeriCorps will continue with the Forest Corps program for this year.” ECF 141, at 16. The

email explained:

       At this time, we are planning for the program to run. However, please be aware that
       there is some uncertainty regarding the future of the program and operations may
       be curtailed at any point. We recognize the uncertainty is unsettling and may cause
       difficulties in planning the course of your year. We deeply regret these
       circumstances and realize it may result in you deciding not to participate in the
       program. We hope that is not the case, but if you decide withdrawal from the
       program is the best course of action for yourself, we understand. If you decide to
       continue with the program, we thank you for your high degree of flexibility and for
       your commitment to serving your country.

Id. Another email, sent on an unknown date, told current Forest Corps members that “the Forest

Corps program is continuing this year” and asked the recipients to accept or decline the invitation

to participate in the program. Id. at 18.

               3. Award Termination Letters

       On April 25, 2025, AmeriCorps sent letters to AmeriCorps award recipients that the agency

was terminating their grants. ECF 1, ¶ 7. Each letter stated:

       Effective immediately, the AmeriCorps award subrecipient(s) included in the
       attached spreadsheet is/are being terminated per 2 CFR 200.340(a)(4) because it
       has been determined that the award no longer effectuates agency priorities. You
       must immediately cease all award activities. This is a final agency action and is not
       administratively appealable. . . . Please immediately notify subrecipients and/or
       community partners, if applicable, and initiate your internal termination and
       closeout procedures. . . . Costs after termination are allowable if: (a) The costs result
       from financial obligations which were properly incurred before the effective date


3
 Thirty-five staff members supporting the NCCC program were placed on administrative leave
and then were temporarily brought back to work to send NCCC members to their homes of record.
ECF 124-1, ¶ 25 (AmeriCorps Emps. Union Pres. decl.).


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        of termination, and (b) costs are for necessary and reasonable termination and
        closeout activities.

See, e.g., ECF 1-7, at 2–3. The termination letters also informed state service commissions that,

for AmeriCorps State and National grants,

        [s]tate commissions and prime grantees should immediately notify subgrantees,
        operating sites, and members and follow grant close-out procedures. All member
        activities should cease immediately. Members should be exited for compelling
        personal circumstances (CPC). The program should document that the member was
        exited for compelling personal circumstances due to the agency’s termination of the
        grant and program closure. If possible, the program should try to have the member
        transferred to another program. If this is not possible, the program should note in
        the CPC documentation that member reassignment was not an option.

See, e.g., id. at 3. And AmeriCorps informed grant recipients with VISTA members active on their

programs that “all members will be removed from your project effective immediately.” See, e.g.,

ECF 1-8, at 3. 4 Commissions with Volunteer Generation Fund and Days of Service awards

received instructions that “[n]otification of award termination should be sent to all subrecipients

and community partners” and that “[c]ommunication to subrecipients should include instruction

to immediately cease award activity.” See, e.g., id. And AmeriCorps directed “research and

evaluation” award recipients to notify subrecipients and community partners of the award

termination. See, e.g., id.

        The grant terminations and exiting and removal of members impacted 1,031 AmeriCorps

programs, roughly $396.5 million in federal funding for AmeriCorps programs, and 32,465

AmeriCorps participants serving as AmeriCorps State and National members, VISTA members,




4
  VISTA project sponsors were informed that VISTA members were placed on administrative hold
with pay. ECF 5-11, ¶ 18 (Del. decl.). At least some VISTA members were offered the opportunity
to seek transfer or reassignment to other VISTA project sponsors to complete their service term.
See id. at 26–27. AmeriCorps told these VISTA members that, if they could not “secure a suitable
reassignment [by] May 19, 2025, [their] AmeriCorps VISTA service [would] be terminated on or
after May 20, 2025.” Id. at 27.


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and AmeriCorps Seniors volunteers. ECF 1-6, at 3. Terminated awards include 838 AmeriCorps

State and National awards (representing approximately $371.1 million in federal funding), 145

VISTA awards (approximately $9.3 million in federal funding), 18 Volunteer Generation Fund

awards (approximately $7.8 million in federal funding), 16 AmeriCorps Senior awards

(approximately $2.7 million in federal funding), eight Day of Service Awards (approximately $1.4

million in federal funding), and six research awards (approximately $4.2 million in federal

funding). ECF 1-6, at 3.

       G.      The Plaintiffs and their Programs

       The plaintiffs in this suit are 24 states and the District of Columbia (the “States” or “the

plaintiff states”). Collectively, the States operate thousands of AmeriCorps programs, support

thousands of AmeriCorps members, and receive millions of dollars in AmeriCorps funding.

AmeriCorps programs in the States provide critical, sometimes life-saving assistance to their

communities. The States’ AmeriCorps programs are too numerous to summarize, or even list, here,

but an overview of AmeriCorps priorities and programs is in order.

               1. Public Health

       One major priority of AmeriCorps funding is public health. In Michigan, for example,

Wayne State University operates the AmeriCorps Community Training for Overdose Rescue,

which “[e]ducate[s] citizens about the risks of opioid misuse and train[s] them in overdose rescue

strategies.” ECF 5-28, ¶ 9. AmeriCorps funds the Kentucky Health Corps, “which provides

healthcare support in the area of memory care, skilled nursing, and assisted living to seniors and

people with disabilities in healthcare facilities.” ECF 1, ¶ 132. It also funds Healthy Communities,

a Connecticut program that places AmeriCorps members in federally qualified health centers to

coordinate care and ensure that patients have the information they need to make informed medical




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decisions. ECF 5-9, ¶ 24–25. Healthy Communities has served 469 patients since its inception

three years ago. Id. In Wisconsin, AmeriCorps funds the Marshfield Clinic’s Recovery Corps

program, which trains AmeriCorps members to be recovery coaches for people with opioid and

other substance addictions and to provide community education about substance use disorders and

recovery resources. ECF 5-45, ¶ 9(c). During the 2023–24 program year, Marshfield Clinic’s

AmeriCorps members supported 150 people with substance use disorders. Id. The Los Angeles

County Department of Public Health uses AmeriCorps members to conduct community outreach

during public health crises and to schedule vaccination appointments, among other functions. See

ECF 5-6, ¶ 10. Since 2022, 128 AmeriCorps members serving at the L.A. County Department of

Public Health “have provided 90,739 service hours conducting 151 community presentations and

6,461 outreaches, reaching more than 234,000 residents.” Id. The Department of Public Health

reports that AmeriCorps members’ efforts—including outreach during recent measles, flu, and

COVID-19 outbreaks; opioid overdose awareness and Naloxone distribution; and mental health

workshops—have “contributed to reducing disease transmission and lower[ed] the overall public

health burden” within the state. Id. ¶ 14.

               2. Veterans

       States also use AmeriCorps funding to support veteran transition services. One of

Wisconsin’s subgrantees is Easterseals Wisconsin, which provides therapeutic recreation activities

for veterans and their families. ECF 5-45, ¶ 9(a). In North Carolina, AmeriCorps members assisted

286 veterans in accessing benefits such as stable housing, medical care, and disability benefits

during the 2023–24 service year. ECF 5-30, ¶ 6. Washington operates Vet Corps, a program that

helps veterans transition from the military and build relationships “in a new world with individuals

who understand [them].” ECF 5-42, ¶ 13. Connecticut’s AmeriCorps Seniors program organizes




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Veterans Coffeehouses across the state, which “offer veterans and their families a welcoming

environment to connect, share experiences, and access essential resources.” ECF 5-9, ¶ 8.

               3. Conservation and Environmental Protection

       Another key AmeriCorps priority is conservation and environmental protection. In

Pennsylvania, for example, AmeriCorps funds the Pennsylvania Mountain Service Corps, which

focuses on education, environment, and community wellness. ECF 5-37, ¶ 5. Members of the

Mountain Service Corps serve outdoors at nature stewardship sites and have tested and cleaned up

hundreds of miles of water within the state. Id. ¶ 14. In California, AmeriCorps funds

GrizzlyCorps, which sends recent college graduates into rural communities across the state to

promote regenerative agri-food systems and fire and forest resilience. ECF 5-5, ¶ 3. GrizzlyCorps

fellows “support community-led efforts in rural California to manage forests ecologically, with

tools like prescribed fire, and aid in fire restoration and preparedness efforts.” Id. ¶ 4. They also

help California progress towards its climate reduction requirements, including reduced greenhouse

gas emissions, and have helped the state map emergency escape routes for wildfires. Id. ¶ 12(a)–

(b). Similarly, AmeriCorps funds Colorado State University Extension, which “operates a variety

of season-specific initiatives supporting the stewardship of Colorado’s wildlands, including land

stewardship, forest monitoring, wildland fire mitigation, supporting wildlife habitation, and

reintroduction of native plants.” ECF 5-8, ¶ 52(a). AmeriCorps funds Kentucky’s Environmental

Education Leadership Corps (“EELCorps”), which provides environmental literacy and education

programs across the state. ECF 5-17, ¶¶ 4–5. During the 2024–25 service year, AmeriCorps

members serving in EELCorps provided environmental education programs, lessons, and activities

to nearly 20,000 Kentuckians. Id. ¶ 7. Through the VISTA program, AmeriCorps supports

Hawai‘i’s Department of Land and Natural Resources by providing critical assistance in areas such




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as climate change, natural resource protection, community building, and transportation access,

with a focus on Hawai‘i’s “unique challenges as an island state.” ECF 5-15, ¶¶ 8–9. The VISTA

participants “help develop strategies for energy affordability and efficiency, community outreach

for underserved populations, and climate adaptation planning.” Id. ¶ 10.

               4. Education

       AmeriCorps also funds educational programs, including programs to support English

language learners, students with Individualized Education Programs (“IEPs”), and students

impacted by disasters. For instance, AmeriCorps funds the Framingham Teacher Residency

AmeriCorps program at Framingham State University, a public university in Massachusetts.

ECF 5-19, ¶¶ 2–3. Through the program, AmeriCorps members serve as resident teaching

assistants in Framingham Public Schools, where many students speak Portuguese or Spanish as

their first languages. Id. ¶¶ 6, 15. In California, AmeriCorps members serving in rural Imperial

County’s Borderlands project provide daily tutoring to more than 200 low-achieving K-12 students

and approximately 90 special education students with IEPs. ECF 92-2, ¶ 34(a). In Delaware,

AmeriCorps funds Children’s Beach House, an organization that supports Delaware children,

including those in foster care. ECF 5-10, ¶ 22. More than half of the people Children’s Beach

House serves are children with IEPs. Id. Children’s Beach House relies on AmeriCorps grants to

maintain the state-mandated adult-to-child ratios in its afterschool programs. Id. ¶ 23. Children

attend these programs to catch up on schoolwork they miss due to speech and language therapy

sessions, to access tutoring tailored to slower processing speeds, and to engage in programs

designed to strengthen their social-emotional skills. Id. In North Carolina, two AmeriCorps

projects provided academic assistance, mentoring, and nutrition education services to students in

areas still recovering from Hurricane Helene; removed debris; repaired storm drainage systems;




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delivered meals to homebound or stranded families; and staffed shelters in those areas. ECF 5-30,

¶¶ 21–22.

       H.      Procedural History

       On April 29, 2025, the States filed a complaint against AmeriCorps and Bastress Tahmasebi

(together, “the agency” or “the defendants”). ECF 1. The complaint has five counts. See id. Three

counts are for violations of the Administrative Procedure Act (“APA”). The States allege that the

defendants acted contrary to law (Count I), without observance of procedure required by law

(Count II), and arbitrarily and capriciously (Count III). See id. ¶¶ 207–31. They claim that

AmeriCorps violated the APA by reducing AmeriCorps staffing and cutting funds appropriated by

Congress to carry out the national service laws, by failing to engage in notice-and-comment

rulemaking, by failing to provide advance notice of a change in agency service priorities, and by

failing to provide impacted award recipients with an opportunity to be heard. The States also raise

a constitutional claim, alleging that the defendants acted in violation of the separation of powers

principle (Count IV), and an ultra vires claim, alleging that the defendants acted in excess of the

scope of their authority (Count V). See id. ¶¶ 232–42.

       On May 6, 2025, the States moved for a stay under the Administrative Procedure Act, 5

U.S.C. § 705, and a preliminary injunction. ECF 5 & 5-1. They ask the Court to vacate the

termination of NCCC members, the decision to place on administrative leave and subsequently

institute a RIF for AmeriCorps staff, and the termination of AmeriCorps-funded programs in the

States. Id. at 2. The defendants opposed the motion and requested that the Court stay any order

granting relief for seven days. ECF 106. The States replied. ECF 124. On May 19, 2025, the Court

held a hearing on the motion and ordered supplemental briefing, which the parties filed. ECF 140

& 141. They also notified the Court about supplemental authority, ECF 143, 144, 147, and the




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States provided an update to the record regarding the 2025 grant cycle. ECF 142. 5 A bipartisan

group of 33 former governors filed an amicus brief in support of the States’ motion for a

preliminary injunction. ECF 72.

          For the reasons that follow, the Court grants in part and denies in part the States’ motion

for a preliminary injunction. 6

    II.        Jurisdiction

          Before turning to the merits, the Court must assure itself it has jurisdiction over the States’

claims. The jurisdictional questions are: Do the States challenge a final agency action subject to

judicial review; do the States have standing to bring their APA claims; and do the States’ claims

belong in this Court or in the United States Court of Federal Claims.

          A.      Final Agency Action

          The States bring several claims under the APA. They allege that the mass termination of

the AmeriCorps grant-funded programs and the removal of NCCC members from service were




5
 In a supplemental notice of authorities filed last night, the States advised the Court that the Office
of Management and Budget proposed for the Fiscal Year 2026 budget “to eliminate the Corporation
for National and Community Service (operating as AmeriCorps), consistent with the President’s
efforts to decrease the size of the Federal Government to enhance accountability, reduce waste,
and reduce unnecessary governmental entities. This account provides funding for the orderly
closure of AmeriCorps.” See ECF 147-1, at 15 (OMB, “Technical Supplement to the 2026
Budget,” Appendix 1055).
6
  The Court denies the States’ motion for a stay. The APA permits a reviewing court “[o]n such
conditions as may be required and to the extent necessary to prevent irreparable injury” to “issue
all necessary and appropriate process to postpone the effective date of an agency action or to
preserve status or rights pending conclusion of the review proceedings.” 5 U.S.C. § 705. “The
factors governing issuance of a preliminary injunction also govern issuance of a § 705 stay.” Casa
de Md., Inc. v. Wolf, 486 F. Supp. 3d 928, 950 (D. Md. 2020) (quoting District of Columbia v. Dep’t
of Agric., 444 F. Supp. 3d 1, 16 (D.D.C. 2020)), order dissolved, No. PX-20-2118, 2023 WL
3547497 (D. Md. May 18, 2023). Because the Court grants the motion for a preliminary injunction,
the States’ motion for an administrative stay is denied as moot.



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arbitrary and capricious, contrary to law, and without observance of procedure required by law.7

The Court must determine whether these agency actions are within the scope of the APA’s “basic

presumption of judicial review.” See Abbott Lab’ys v. Gardner, 387 U.S. 136, 140 (1967). The

APA allows for judicial review of “final agency action for which there is no other adequate remedy

in a court.” 5 U.S.C. § 704. Whether there is a final agency action is a jurisdictional question in

the Fourth Circuit. See, e.g., Jake’s Fireworks Inc. v. U.S. Consumer Prod. Safety Comm’n, 105

F.4th 627, 631 (4th Cir. 2024) (noting “finality under the APA is a jurisdictional requirement”).

“To constitute ‘final agency action’ within the meaning of Section 704, the challenged action must

have two characteristics. First, the challenged action must be ‘circumscribed and discrete.’ . . .

Second, the ‘agency action’ must be ‘final.’” NAACP v. Bureau of the Census, 945 F.3d 183, 189

(4th Cir. 2019) (internal citations omitted) (first quoting 5 U.S.C. § 704; and then quoting Vill. of

Bald Head Island v. U.S. Army Corps of Eng’rs, 714 F.3d 186, 194 (4th Cir. 2013)).

               1. Discrete Agency Action

       “‘[A]gency action’ includes the whole or a part of an agency rule, order, license, sanction,

relief, or the equivalent or denial thereof, or failure to act[.]” 5 U.S.C. § 551(13). “[T]he term is

not so all-encompassing as to authorize [courts] to exercise ‘judicial review [over] everything done

by an administrative agency.’” Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d 420, 427 (D.C. Cir.

2004) (quoting Hearst Radio, Inc. v. FCC, 167 F.2d 225, 227 (D.C. Cir. 1948)). Even so, “‘agency




7
  The Court refers to the April 25, 2025 award terminations, the “exit[ing]” of AmeriCorps
members from AmeriCorps State and National programs “due to the agency’s termination of the
grant and program closure,” and the “remov[al]” of VISTA members from “project[s],” see ECF
1-8, collectively as the “closure” or “mass closure” of AmeriCorps programs. Termination of
AmeriCorps awards that do not have any associated members, such as planning grants, and
termination of Education Award Programs, which enroll members but do not provide them with a
living stipend, also may be included in this description to the extent that they were impacted by
AmeriCorps’s April 25, 2025 termination letters.


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action’ undoubtedly has a broad sweep.” Id. “[T]he word ‘action[]’ . . . is meant to cover

comprehensively every manner in which an agency may exercise its power.” Whitman v. Am.

Trucking Ass’ns, 531 U.S. 457, 478 (2001); see also FTC v. Standard Oil Co., 449 U.S. 232, 238

n.7 (1980) (“According to the legislative history of the APA: ‘The term “agency action” . . .

assure[s] the complete coverage of every form of agency power, proceeding, action, or inaction.’”

(quoting S. Doc. No. 79-248, at 255 (2d Sess. 1946))). The term “action” encompasses an agency’s

“policy or routine practice.” Amadei v. Nielsen, 348 F. Supp. 3d 145, 164 (E.D.N.Y. 2018). And an

agency’s policy is reviewable even when “the details of the . . . policy are still unclear.” See

Venetian Casino Resort, L.L.C. v. EEOC, 530 F.3d 925, 929 (D.C. Cir. 2008).

       The States challenge the “dismantling” of AmeriCorps. This challenge is essentially a

broad programmatic attack that is not subject to judicial review. See Norton v. S. Utah Wilderness

All., 542 U.S. 55, 64 (2004). However, the States have identified two discrete agency actions that

are ripe for judicial review: (a) the mass closure of 1,031 AmeriCorps programs and (b) the

removal of all NCCC members from service. 8

                    a.    Mass Program Closure

       The decision to close over 1,000 AmeriCorps programs was a discrete agency action. The

grant termination letters informed grant recipients that their funding was terminated, that VISTA

members were removed, and that AmeriCorps members must be exited from the program due to

“program closure.” See, e.g., ECF 5-8, at 33. These letters advised: “This is a final agency action

and is not administratively appealable.” See, e.g., id. The defendants do not dispute that the




8
  The States also challenge the decision to place 85 percent of AmeriCorps staff on administrative
leave and the subsequent RIF. Because, as discussed later, the States have not established standing
to challenge the placement of AmeriCorps staff on administrative leave and the RIF, the Court
need not determine whether either decision constitutes a discrete, final agency action.


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program closures are agency actions. Instead, they suggest that the States must separately

challenge each individual grant termination as distinct final agency actions. The Court disagrees.

       Recently, the First Circuit confronted a similar agency action in New York v. Trump, 133

F.4th 51 (1st Cir. 2025). In New York, states challenged the suspension and termination of federal

funding across numerous executive agencies. 133 F.4th at 63. The federal defendants in that case

argued that the plaintiff states could not challenge “unidentified past funding decisions across

thousands of programs and an untold number of hypothetical future funding decisions” because

this constituted a “broad programmatic attack.” Id. at 68. The First Circuit disagreed. Although the

plaintiff states challenged the pause or termination of many obligated funds across several

agencies, the First Circuit concluded that “numerous notices and emails authored by Agency

Defendants,” as well as declarations that described the pausing or termination of obligated funds,

“support the finding that their funding freezes were categorical in nature, rather than being based

on ‘individualized assessments of their statutory authorities and relevant grant terms.’” Id. at 68–

69. In finding the funding freezes “categorical in nature,” the First Circuit stressed that “a court is

‘not required to exhibit a naiveté from which ordinary citizens are free.’” Id. (quoting Dep’t of

Com. v. New York, 588 U.S. 752, 785 (2019)).

       So too here. The decision to terminate grant funding and close over 1,000 AmeriCorps

programs on the same day (April 25, 2025) and for the same reason (“the award no longer

effectuates agency priorities”) was “categorical in nature” and was not based on an individualized

assessment of the grant terms or the grantee’s adherence to applicable regulations or statutes. The

vague reason for grant terminations also suggests that the agency did not base its program closure

decisions on its assessment of the services provided under each award. The agency acknowledged

as much when, during the hearing, the defendants’ counsel stated “[t]here’s no distinction being




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made between the various services.” ECF 146, at 95:8–9 (May 19, 2025 Hr’g Tr.). The same-day

decision to eliminate funding for nearly half of AmeriCorps programs and to exit AmeriCorps

members from those programs because of a “shift in AmeriCorps priorities,” ECF 106, at 31, is an

“across the board” agency action that “can of course be challenged under the APA by a person

adversely affected[.]” See Lujan, 497 U.S. at 890 n.2. The mass closure of AmeriCorps programs

is a discrete agency action that is ripe for judicial review under the APA.

                     b.    Removal of NCCC Members

       The decision to exit NCCC members from the NCCC program also was a discrete agency

action. On April 15, 2025, AmeriCorps sent an e-mail notifying the recipients that “AmeriCorps is

sending all NCCC members to their homes of record as soon as possible” and that “NCCC

Members will be moved into administrative hold with pay status through April 30th, 2025, after

which they will be exited from the NCCC program.” See ECF 1-2, at 2. This blanket decision to

remove all NCCC members from service was categorical in nature. It was a discrete agency action.

               2. Finality

       Agency action is “final” when two conditions are met: (1) “the action must mark the

‘consummation’ of the agency’s decisionmaking process—it must not be of a merely tentative or

interlocutory nature,” and (2) “the action must be one by which ‘rights or obligations have been

determined,’ or from which ‘legal consequences will flow.’” Bennett v. Spear, 520 U.S. 154, 177–

78 (1997) (first quoting Chi. & S. Air Lines, Inc. v. Waterman S.S. Corp., 333 U.S. 103, 113 (1948);

and then quoting Port of Bos. Marine Terminal Ass’n v. Rederiaktiebolaget Transatl., 400 U.S. 62,

71 (1970)). “To meet [the second] requirement, a party must demonstrate that the challenged act

had ‘an immediate and practical impact,’ or ‘alter[ed] the legal regime’ in which it operates.” City

of New York v. U.S. Dep’t of Def., 913 F.3d 423, 431 (4th Cir. 2019) (first quoting Golden &




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Zimmerman LLC v. Domenech, 599 F.3d 426, 433 (4th Cir. 2010); and then quoting Bennett, 520

U.S. at 156).

       The decision to close AmeriCorps programs was a final agency action. The termination

letters said as much. The agency told AmeriCorps award recipients that the award termination,

program closure, and forced exit or removal of AmeriCorps and VISTA members is “a final agency

action and is not administratively appealable.” See, e.g., ECF 5-38, at 14. The program closures

“had ‘an immediate and practical impact’” on the States—grantees no longer receive funding or

the service of AmeriCorps and VISTA members. See City of New York, 913 F.3d at 431 (quoting

Golden & Zimmerman LLC, 599 F.3d at 433).

       The decision to remove all NCCC members from service also was final. AmeriCorps

announced its decision this way:

       AmeriCorps is sending all NCCC members to their homes of record as soon as
       possible . . . . [A]ll teams are directed to return to their Region campus immediately
       . . . NCCC Members will be moved into administrative hold with pay status through
       April 30th, 2025, after which they will be exited from the NCCC program. The
       program will exit all Members early with Compelling Personal Circumstances
       (CPC) status.

See ECF 1-2. The message was clear: The agency’s decision-making process was complete, and

all NCCC members were exited from the program. See ECF 1-3. The action marked the

consummation of the agency decision-making process.

       At the motions hearing, counsel for the defendants was unable to answer the Court’s

questions about the status of the NCCC, including whether the NCCC is still in existence or

whether any members remain. After the hearing, the defendants filed a supplemental brief that

stated “the NCCC is still very much in existence.” ECF 141, at 8. As evidence for their position,

they submitted two emails regarding Forest Corps, a sub-program of the NCCC. One of the emails,

sent April 29, 2025, informed future Forest Corps participants that “AmeriCorps will continue with



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the Forest Corps program for this year” but qualified that “there is some uncertainty regarding the

future of the program and operations may be curtailed at any point.” See id. at 16. The other email,

sent on an unidentified date, informed “current Forest Corps members” that “the Forest Corps

program is continuing this year.” Id. at 18. Both emails indicated that members may decline to

participate in the program. See id. at 16, 18.

       These two emails do not make the agency’s decision to end the service of NCCC members

any less final. The defendants have not disputed that “all NCCC members” were sent to their

homes of record, moved to administrative hold, and exited from service. Informing a handful of

new NCCC members that they may be in service in the future—with a heavy dose of “uncertainty”

about the future of the program—is separate from the decision made two weeks earlier to

“demobiliz[e]” all NCCC members. See ECF 1-2, at 2 (email to NCCC members with subject line

“Letter to All Members on Demobilization”). And the undated email to “current” Forest Corps

members, asking if they are still willing to participate in the program and advising them that they

may “accept or decline the opportunity to participate,” ECF 141, at 18, does not undermine the

finality of the decision to remove all NCCC members from service. Even if these two emails

suggest the NCCC has not been abolished entirely, removing over 750 NCCC members from

service still constitutes final agency action. That the agency may, at some point in the future,

implement the Forest Corps program again does not render the removal of NCCC members from

service any less definitive. Surely, “final does not mean permanent.” Widakuswara v. Lake, No.

25-CV-1015, 2025 WL 1166400, at *12 (D.D.C. Apr. 22, 2025); see also Ciba-Geigy Corp. v. EPA,

801 F.2d 430, 435–36 (D.C. Cir. 1986) (explaining that a finality assessment requires looking to

“whether the agency’s position is ‘definitive’ and whether it has a ‘direct and immediate . . . effect

on the day-to-day business’ of the parties challenging the action” (cleaned up) (quoting Standard




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Oil Co., 449 U.S. at 239)); cf. Scenic Am., Inc. v. U.S. Dep’t of Transp., 836 F.3d 42, 56 (D.C. Cir.

2016) (“The fact that a regulation might be interpreted again at some point in the indeterminate

future cannot, by itself, prevent the initial interpretation from being final.”).

        The decision to remove all NCCC members from service also satisfies the second Bennett

prong. The agency has pulled from service NCCC members who, pursuant to the agency’s statute,

carried out “national service programs” to “meet national and community needs.” See 42 U.S.C.

§§ 12611, 12612. NCCC members serving in the States were immediately placed on administrative

hold before their removal at the end of April. See, e.g., ECF 5-28, ¶ 12 (explaining that AmeriCorps

“placed all NCCC teams serving in Michigan on administrative leave” pending their release from

service on April 30, 2025). NCCC members who were engaged in efforts such as disaster relief

were recalled from their service projects. See ECF 5-28, ¶ 13 (explaining that Michigan “had plans

to deploy an additional NCCC team in April to some of the Michigan communities hit hardest by

the March 2025 ice storm in Northern Michigan but had to abandon this plan as a result of the

demobilization of NCCC members across the country”); ECF 5-30, ¶¶ 7–8 (NCCC members

assigned to help distribute donations to communities impacted by Hurricane Helene removed from

service). This action had “an immediate and practical impact” on the states where the NCCC

members were serving. See City of New York, 913 F.3d at 431 (quoting Golden, 599 F.3d at 433).

The agency’s decision to demobilize all NCCC members was a final agency action. Cf. New York

v. McMahon, No. 25-10601, 2025 WL 1463009, at *24 (D. Mass. May 22, 2025) (finding “the

mass terminations of half the Department of Education, and the transfer of certain programs out of

the Department” were final agency actions subject to judicial review); Am. Fed’n of Gov’t Emps.,

AFL-CIO v. OPM, No. 25-cv-1780, 2025 WL 660053, at *5 (N.D. Cal. Feb. 28, 2025) (“OPM’s

direction to the other agencies [to dismiss employees] constituted a final agency action for the




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purposes of the APA.”); Widakuswara, 2025 WL 1166400, at *12 (finding that “blanket placement

of employees on administrative leave” was a “discrete, final agency action[] subject to judicial

review”); Nat’l Treasury Emps. Union v. Vought, No. CV 25-0381, 2025 WL 942772, at *12–13

(D.D.C. Mar. 28, 2025) (finding stop-work order issued at the Consumer Financial Protection

Bureau constituted final agency action). 9

       The States challenge final agency actions reviewable under the APA.

       B.      Agency Discretion

       “The APA prohibits judicial review of actions committed to agency discretion by law.”

Pharm. Coal. for Patient Access v. United States, 126 F.4th 947, 964 (4th Cir. 2025) (citing 5

U.S.C. § 701(a)(2)). The Court does not have jurisdiction to review such actions. Id. (citing

Angelex Ltd. v. United States, 723 F.3d 500, 505–06 (4th Cir. 2013)). The agency argues that

implementation of the NCCC is committed to agency discretion and is not subject to judicial

review under the APA.

       Section 701(a)(2) “‘is a very narrow exception’ and ‘applicable in those rare instances

where statutes are drawn in such broad terms that in a given case there is no law to apply.’” Angelex

Ltd., 723 F.3d at 506 (quoting Citizens to Preserve Overton Park v. Volpe, 401 U.S. 402, 410

(1971)). Courts cannot review agency actions “when no judicially manageable standards are

available to assess how and when an agency should exercise its discretion such that a court would

have ‘no law to apply.’” Pharm. Coal., 126 F.4th at 963 (quoting Heckler v. Chaney, 470 U.S. 821,

830–31 (1985)). Decisions committed to agency discretion by law include “an agency’s decision




9
  The defendants appear to argue that the agency actions are not final because they represent
“ongoing implementation of the Executive Order.” ECF 106, at 25. An agency action is not
unreviewable merely because there is more to come. Were it so, agencies could effectively avoid
judicial review by invoking broadly worded Executive Orders.


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not to institute enforcement proceedings,” which implicates “‘complicated balancing of a number

of factors which are peculiarly within its expertise’”; the “refusal to grant reconsideration of an

action because of material error” given “‘the impossibility of devising an adequate standard of

review for such agency action’”; and “[t]he allocation of funds from a lump-sum appropriation.”

Lincoln v. Vigil, 508 U.S. 182, 191–92 (1993) (first quoting Heckler, 470 U.S. at 831; and then

quoting ICC v. Locomotive Eng’rs, 482 U.S. 270, 282 (1987)).

       For example, in Lincoln v. Vigil, the Supreme Court held that the Indian Health Service’s

(“IHS”) decision to discontinue a program providing clinical services was “‘committed to agency

discretion by law’ and therefore not subject to judicial review under the [APA].” 508 U.S. at 184

(quoting 5 U.S.C. § 701(a)(2)). Lincoln concerned the Snyder Act and the Indian Improvement

Act, statutes under which Congress generally authorized the IHS to “‘expend such moneys as

Congress may from time to time appropriate, for the benefit, care, and assistance of the Indians,’

for the ‘relief of distress and conservation of health’” and for “therapeutic and residential [mental

health] treatment centers” Id. at 185 (quoting 25 U.S.C. §§ 13, 1621(a)(4)(D)). IHS, which

received lump-sum appropriations, previously funded the Indian Children’s Program, a collection

of services that IHS provided in the Southwest. Id. at 184. The agency decided to discontinue the

Indian Children’s Program and instead fund nationwide efforts. Id. at 185–88. The program was

not referenced in either the Snyder Act or the Improvement Act, nor was it referenced in the

congressional appropriations act providing IHS with a lump sum appropriation. That is, “Congress

never authorized or appropriated moneys expressly for the Program” or otherwise “‘statutorily

restrict[ed] what can be done with those funds.’” Id. at 187, 192 (quoting LTV Aerospace Corp.,

55 Comp. Gen. 307, 319 (1975)). The Lincoln Court affirmed that “an agency is not free simply

to disregard statutory responsibilities: Congress may always circumscribe agency discretion to




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allocate resources by putting restrictions in the operative statutes . . . .” Id. at 193. However, “the

appropriations Acts for the relevant period d[id] not so much as mention the Program, and both

the Snyder Act and the Improvement Act likewise speak about Indian health only in general terms.”

Id. at 193–94. The Court distinguished the relevant appropriations acts from appropriations acts in

which Congress did place restrictions on appropriated funds. See id. at 194 n.4. It emphasized that

“where ‘Congress merely appropriates lump-sum amounts without statutorily restricting what can

be done with those funds, a clear inference arises that it does not intend to impose legally binding

restrictions . . . .’” Id. at 192 (quoting LTV Aerospace, 55 Comp. Gen. at 319). Thus, “[t]he decision

to terminate the Program was committed to the Service’s discretion.” Id. at 194. Moreover, the

APA’s notice-and-comment rulemaking requirement did not apply to the agency’s decision to

discontinue the program due to the statute’s exemption for “rules of agency organization” and

“general statements of policy.” Id. at 197 (quoting 5 U.S.C. § 553(b)(A)).

       A contrast of the facts in Lincoln with the facts in this case illustrates why here, unlike in

Lincoln, the decision to remove all NCCC members from service was not committed to agency

discretion by law. In Lincoln, Congress did not mention the program terminated by the agency in

the statutes authorizing the broader Indian health programs. Here, Congress authorized the creation

of the NCCC by statute and established requirements for its operation and organization. See 42

U.S.C. § 12611 et seq. In Lincoln, the appropriation bills did not mention the terminated program

at all. Here, the appropriations act mentions the NCCC. When appropriating funds “[f]or necessary

expenses for the [AmeriCorps] to carry out [the 1973 Act] and the [1990 Act]” in Fiscal Year 2024

and 2025, Congress allocated roughly $37.7 million to the NCCC. See 2024 Appropriations Act,

138 Stat. at 694; 2025 Appropriations Act § 1101(a), 139 Stat. at 10–11. Finally, and of particular

import here, in Lincoln, the agency was not required to engaged in notice-and-comment




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rulemaking before it terminated the program. Here, Congress has required that when AmeriCorps

makes “any significant changes to program requirements, service delivery or policy,” it must do

so through notice-and-comment rulemaking. See 2024 Appropriations Act § 401, 138 Stat. at 695.

Thus, in contrast to the lump-sum appropriations for Indian health programs in general in Lincoln,

Congress has specifically authorized the NCCC’s creation, established requirements for its

operation, allotted a specific amount to the NCCC in annual appropriations acts, and set parameters

for when AmeriCorps can make changes to “program requirements, service delivery or policy” in

the same act appropriating annual funding for the NCCC. Congress has, therefore,

“circumscribe[d] agency discretion.” See Lincoln, 508 U.S. at 193. AmeriCorps’s restricted

authority over the NCCC stands in sharp contrast to the agency’s broad discretion over Indian

health programs in Lincoln. 10

        The removal of all NCCC members from service was not committed to agency discretion

by law. It is subject to the Court’s review under the APA.

        C.      Standing

        Article III of the Constitution extends the “judicial Power” of the federal courts only to

“Cases” or “Controversies.” U.S. Const. art. III, § 2, cl. 1; see TransUnion LLC v. Ramirez, 594

U.S. 413, 423 (2021). There is a case or controversy only if the plaintiff has standing to assert their

claim. TransUnion, 594 U.S. at 423. To establish standing, a plaintiff must show “(1) that he

suffered an injury in fact that is concrete, particularized, and actual or imminent; (2) that the injury

is fairly traceable to the challenged action of the defendant; and (3) that the injury would likely be



10
   The defendants argue that “implementation of the NCCC program is left entirely to agency
discretion under 42 U.S.C. § 12612(a).” ECF 106, at 9. The States respond that NCCC is a
mandatory program. The Court need not resolve this dispute. Even if the agency had the authority
to decommission NCCC members or abolish the NCCC in its entirety, there is still “law to apply”
to the mass removal of NCCC members from service. See Angelex Ltd., 723 F.3d at 506.


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redressed by judicial relief.” Fernandez v. RentGrow, Inc., 116 F.4th 288, 294 (4th Cir. 2024)

(citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). The plaintiffs “must demonstrate

standing ‘with the manner and degree of evidence’ required at the relevant ‘stage[ ] of the

litigation.’” Id. at 295 (alteration in original) (quoting Lujan, 504 U.S. at 561). At this stage, that

means they “must make a ‘clear showing’ that [they are] ‘likely’ to establish each element of

standing.” See Murthy v. Missouri, 603 U.S. 43, 58 (2024) (quoting Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 22 (2008)).

           Additionally, “standing is not dispensed in gross.” Town of Chester v. Laroe Ests., Inc.,

581 U.S. 433, 439 (2017) (quoting Davis v. Fed. Elec. Comm’n, 554 U.S. 724, 734 (2008)).

Instead, “a plaintiff must demonstrate standing for each claim he seeks to press and for each form

of relief that is sought.” Id. (quoting Davis, 554 U.S. at 734). When there are multiple plaintiffs,

the Court need only determine that there is at least one plaintiff with standing for a particular claim

to consider the claim. Id.; see also Outdoor Amusement Bus. Ass’n v. Dep’t of Homeland Sec., 983

F.3d 671, 681 (4th Cir. 2020) (“[O]nly one plaintiff needs to have standing for a court to hear the

case.”).

           Injury in fact is “the ‘[f]irst and foremost of standing’s three elements.’” Spokeo, Inc. v.

Robins, 578 U.S. 330, 338 (2016) (quoting Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

103 (1998)). The “injury must be actual or imminent, not speculative—meaning that the injury

must have already occurred or be likely to occur soon.” FDA v. All. for Hippocratic Med., 602

U.S. 367, 381 (2024) (citing Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)). When, as

here, “a plaintiff seeks prospective relief such as an injunction, the plaintiff must establish a

sufficient likelihood of future injury.” Id. (citing Clapper, 568 U.S. at 401).




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       The States allege that the agency violated the APA by failing to engage in notice-and-

comment rulemaking required by law. 11 To establish injury-in-fact for violation of a procedural

rule such as a notice-and-comment requirement, a plaintiff must allege more than “a bare

procedural violation, divorced from any concrete harm.” See Spokeo, 578 U.S. at 341. “When

plaintiffs challenge an action taken without required procedural safeguards, they must establish

the agency action threatens their concrete interest.” Mendoza v. Perez, 754 F.3d 1002, 1010 (D.C.

Cir. 2014); see also Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 492 (D. Md. 2020)

(“While violation of a procedural right ‘in vacuo’ is insufficient by itself to confer Article III

standing, a procedural injury that is tethered to some ‘concrete interest’ adversely affected by the

procedural deprivation is sufficient.” (quoting Summers v. Earth Island Inst., 555 U.S. 488, 496

(2009))); Nat’l Fed’n of the Blind v. U.S. Dep’t of Educ., 407 F. Supp. 3d 524, 533 (D. Md. 2019)

(“Deprivation of a procedural right . . . can constitute an injury for purposes of standing when it is

tied to a specific resultant harm.”). “The person who has been accorded a procedural right to protect

his concrete interests can assert that right without meeting all the normal standards for

redressability and immediacy.” Lujan, 504 U.S. at 572 n.7; see also Mendoza, 754 F.3d at 1010

(noting that once a plaintiff has shown that “the agency action threatens their concrete interest[,]

. . . the normal standards for immediacy and redressability are relaxed”).

       A plaintiff asserting a procedural violation “need not show that the result of the agency’s

deliberations will be different if the statutory procedure is followed.” Pye v. United States, 269




11
  Because the Court finds that the States have shown a likelihood of success on the merits of their
APA claim for failure to engage in notice-and-comment rulemaking, it does not reach the grounds
for the other alleged APA violations relating to the mass closure of AmeriCorps programs or the
removal of NCCC members from service. Further, because the Court finds that the States do not
have standing to challenge AmeriCorps’s reductions in agency staff, the Court does not address
the claims challenging the staffing reductions.


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F.3d 459, 471 n.7 (4th Cir. 2001). “Nor need they establish that correcting the procedural violation

would necessarily alter the final effect of the agency’s action on the plaintiffs’ interest.” Mendoza,

754 F.3d at 1010; see also Sugar Cane Growers Coop. of Fla. v. Veneman, 289 F.3d 89, 94 (D.C.

Cir. 2002) (“A plaintiff who alleges a deprivation of a procedural protection to which he is entitled

never has to prove that if he had received the procedure the substantive result would have been

altered.”). “Rather, if the plaintiffs can ‘demonstrate a causal relationship between the final agency

action and the alleged injuries,’ the court will ‘assume[] the causal relationship between the

procedural defect and the final agency action.” Mendoza, 754 F.3d at 1010 (alteration in original)

(quoting Ctr. for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1160 (D.C. Cir. 2005)).

       Here, the States bring several APA claims. In each of these claims, the States assert they

have been injured by one or more of the following agency actions: (1) the mass closure of

AmeriCorps programs; (2) the termination of NCCC members from service; and (3) the placement

of 85 percent of AmeriCorps staff on administrative leave and the subsequent reduction in force.

               1. AmeriCorps Program Closures

       The States have standing to challenge the agency’s decision to close over 1,000

AmeriCorps programs. On April 25, 2025, AmeriCorps notified the States, through state service

commissions and state instrumentalities, that certain state-administered grants were terminated,

that VISTA members would be removed from service projects, and that AmeriCorps members

working on State and National programs must cease activity immediately. The loss of federal

funding for grants awarded to state service commissions and state instrumentalities and the loss of




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AmeriCorps and VISTA members working on those programs are concrete injuries caused by

agency action. The States have standing to challenge the mass closure of AmeriCorps programs. 12

               2. The Termination of NCCC Members

       The States also have standing to challenge the removal of NCCC members from service.

NCCC is a national service corps operated by AmeriCorps whose mission includes assisting states

with disaster relief efforts. ECF 1, ¶ 58(a). NCCC members are stationed in regional campuses

around the country. See ECF 5-8, ¶ 32 (Colo. decl.). When the need arises, NCCC members are

dispatched from their home campuses to the location in need. See, e.g., id.; ECF 92-2, ¶ 15 (Cal.

decl.); ECF 5-12, ¶ 13 (Del. decl.). NCCC members have helped with recovery from the California

wildfires, New Mexico floods, and Hurricanes Helene and Milton in Florida. ECF 124-1, ¶ 17

(AmeriCorps Emps. Union Pres. decl.). In 2024, NCCC members conducted disaster relief and

other projects in some of the plaintiff states. See, e.g., ECF 5-12, ¶ 15 (10 NCCC participants in

Delaware); ECF 5-18, ¶ 15 (90 NCCC participants in Kentucky); ECF 5-25, ¶ 10 (11 NCCC

participants in Maine); ECF 5-39, ¶ 11 (17 NCCC participants in Rhode Island); ECF 5-42, ¶ 15

(47 NCCC participants in Washington).




12
    The defendants argue “Plaintiffs do not have standing to seek injunctive relief regarding
assistance that is disbursed directly or otherwise provided via direct services to entities or citizens
other than the Plaintiff states in this suit.” ECF 106, at 16–17. But what the “‘injury-in-fact’ test
requires” is “that the party seeking review be himself among the injured.” Lujan, 504 U.S. at 563
(emphasis added) (quoting Sierra Club v. Morton, 405 U.S. 727, 734–35 (1972)). And “[i]f there
is in fact some specific [agency action], applying some particular measure across the board . . . and
if that [agency action] is final, and has become ripe for review . . . it can of course be challenged
under the APA by a person adversely affected.” Lujan, 497 U.S. at 890 n.2. As AmeriCorps award
recipients, the States were injured by the final agency action of mass program closure on April 25,
2025, and they have standing to challenge that final agency action, even if the action also adversely
impacted non-parties. See, e.g., Woonasquatucket River Watershed Council v. U.S. Dep’t of Agric.,
No. 25-CV-00097, 2025 WL 1116157, at *6–8, *24–25 (D.R.I. Apr. 15, 2025) (parties impacted
by grant freeze that also impacted non-parties had standing to challenge agency action); cf. New
York, 133 F.4th at 67–68; Hispanic Affs. Project v. Acosta, 901 F.3d 378, 387–88 (D.C. Cir. 2018).


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       At least two plaintiff states have been concretely injured by the agency’s April 15, 2025

decision to terminate all NCCC members from service. Earlier this year, NCCC members were

deployed to the western part of North Carolina to support the state’s Hurricane Helene recovery

effort. ECF 5-30, ¶ 8. NCCC members were helping staff the Multi-Agency Warehouse in

Statesville, a facility operated by a state agency, the North Carolina Department of Public Safety’s

Emergency Management division. Id. The Warehouse “coordinates distribution of donations to

affected communities in western North Carolina.” Id. These NCCC members were terminated

from service in April. Id. Likewise, Michigan “relies on NCCC AmeriCorps teams to be deployed

to communities to manage and support residents.” ECF 5-28, ¶ 13. Michigan’s commission

planned to “deploy an additional NCCC team in April to some of the Michigan communities hit

hardest by the March 2025 ice storm in Northern Michigan but had to abandon this plan as a result

of the demobilization of NCCC members across the country.” Id.

       The removal of NCCC members from these states is causally connected to a non-

speculative increase in demand for state disaster relief services. Because disaster relief efforts are

not discretionary, when the NCCC members engaged in these efforts were taken out of service,

states could not simply opt out of filling this gap. This much is evident in North Carolina, where,

since the NCCC members were ordered to leave, “the [state] Warehouse has struggled to backfill

volunteers to replace the terminated NCCC service members, resulting in a backlog of incoming

donations processing, picking and packing.” ECF 5-30, ¶ 8. The termination of the NCCC program

“has resulted in an overall delay in processing the inventory and disrupted management and

operational continuity.” Id.

       Thus, there is a non-speculative and imminent threat of an increased reliance on state

disaster relief services due to the mass removal of NCCC members in at least some of the plaintiff




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states who relied on NCCC members for disaster relief assistance. The increased demand for state

services comes with associated costs that amount to a cognizable injury. See, e.g., Pennsylvania v.

President [of the] United States, 930 F.3d 543, 562 (3d Cir. 2019), as amended (July 18, 2019)

(“States will suffer a concrete financial injury from the increased use of state-funded services.”),

rev’d and remanded on other grounds sub nom. Little Sisters of the Poor Saints Peter & Paul

Home v. Pennsylvania, 591 U.S. 657 (2020).

       This injury is not, as the defendants describe it, a “downstream” harm to state resources.

In support of this argument, the defendants rely heavily on United States v. Texas, 599 U.S. 670

(2023), but that case finds no comparison here. In Texas, the Supreme Court considered a challenge

to the Department of Homeland Security’s (“DHS”) guidelines for immigration enforcement,

which prioritized arrest and removal of certain non-citizens. 599 U.S. at 673. Texas and Louisiana

sued DHS and other federal officials and agencies, alleging that the new guidelines violated certain

statutes by shirking DHS’s responsibilities to make additional arrests of noncitizens. Id. at 673–

74. The states argued that they had standing to challenge the guidelines based on the costs they

would incur to provide social services to non-citizens who were not arrested under the new policy.

Id. at 674. The Supreme Court rejected this theory of standing. Id. at 676. While recognizing the

additional costs as an “injury,” the Supreme Court concluded that these monetary costs were not

“legally and judicially cognizable” because, at bottom, plaintiffs did not have standing to

“challenge[] . . . the Executive Branch’s exercise of enforcement discretion over whether to arrest

or prosecute.” Id. at 676–77. In so holding, the Supreme Court explained that “in ‘American

jurisprudence at least,’ a party ‘lacks a judicially cognizable interest in the prosecution . . . of

another,’” highlighting the Executive Branch’s “enforcement discretion over whether to arrest or

prosecute.” Id. at 677 (quoting Linda R. S. v. Richard D., 410 U.S. 614, 619 (1973)). It noted that,




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while states “sometimes have standing to sue the United States or an executive agency or officer[,]

. . . . federal policies frequently generate indirect effects on state revenues or state spending,” and

“when a State asserts, for example, that a federal law has produced only those kinds of indirect

effects, the State’s claim for standing can become more attenuated.” Id. at 680 n.3. Even so, the

Texas Court underscored that “this case raises only the narrow Article III standing question of

whether the Federal Judiciary may in effect order the Executive Branch to take enforcement actions

against violators of federal law.” Id. at 684–85 (emphasis added).

       Here, the States do not assert standing based on financial costs they expect to incur in

providing social services because of Executive Branch enforcement priorities. The States assert

standing based on the costs they have and will incur in providing state disaster relief services that

they relied on NCCC members to provide. See, e.g., DeOtte v. Nevada, 20 F.4th 1055, 1068 (5th

Cir. 2021) (Nevada had standing to challenge regulation impacting availability of contraceptive

coverage based on “the financial strain caused by an increase in women relying on its family

planning programs”). The Texas Court’s warning that the “indirect effects” of federal policy are

sometimes too attenuated to establish a state’s standing is not on point here, where AmeriCorps

has terminated the service of members of the NCCC—a national service corps dedicated “to

meet[ing] national and community needs,” 42 U.S.C. § 12611—who provide nondiscretionary

disaster relief services in the States. The increase in demand for state services is a concrete harm

caused by the removal of NCCC members.

       At least North Carolina and Michigan have standing to challenge the decision to remove

all NCCC members from service. 13



13
  Because “only one” plaintiff needs standing for the Court to hear the claim, the Court need not
decide whether the other plaintiffs have standing to challenge the NCCC member termination. See
Outdoor Amusement, 983 F.3d at 681.


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         C.     Reductions in Agency Staff

         The States do not have standing to challenge AmeriCorps’s decisions to place 85 percent

of agency staff on administrative leave and to institute a RIF. They argue that the significant

reduction in agency staff has prevented and will continue to prevent them from receiving assistance

from AmeriCorps staff as they undergo the grant reapplication process and that it will delay the

adjudication of their grant applications. The States rely on a declaration from Kelly Daly, the

president of the AmeriCorps Employees Union, who asserts that the reduction from 720 to 116

AmeriCorps employees leaves “[t]he few remaining staff members . . . unable to complete the day-

to-day work required to keep the Agency running.” ECF 124-1, ¶¶ 25–26. According to Daly, this

work includes providing “the needed technical assistance or program oversight” and administering

funds for grant and project recipients, and she predicts “almost certain[] . . . difficulties” and an

inability “to process new grant or grant continuation applications in a timely manner, if at all.” Id.

¶ 28.

         The States, too, express concerns that the reduction in AmeriCorps staff will cause delays

in the grant application and approval processes. Maryland fears that, with the reduction in force,

there will be delays in grant approval and the state will not be able to financially support

AmeriCorps programs, to start its programs on time, “to realistically plan for future operations,”

or “to secure philanthropic assistance.” ECF 5-21, ¶ 11(a)–(b). Arizona’s commission has similar

concerns about communication delays. See ECF 5-4, ¶¶ 18–20. Massachusetts and Delaware also

are concerned that the loss of AmeriCorps staff will lead to delays in processing grant applications.

See, e.g., ECF 5-20, ¶ 13 (Mass. decl.); ECF 5-12, ¶ 17 (Del. decl.). Colorado’s commission fears

“[d]elays in future funding,” “a lack of guidance on procedural questions,” and “[a]n anticipated

increase to approval times for administrative actions.” ECF 5-28, ¶ 33(a)–(c).




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       The States also assert that several of them already have felt the effects of the reduction in

AmeriCorps staff. Illinois’s commission notes the sudden loss of “[a]ll communications with [its]

federal [grant] portfolio manager,” as a result of which Illinois has “no guidance concerning any

necessary budget amendments in e-Grants” or its 2025 grant applications. ECF 5-16, ¶¶ 25–26.

Maryland’s commission states that it has not been able to engage in its regular communications

with AmeriCorps agency staff for advice. ECF 5-21, ¶ 11.

       These alleged harms do not satisfy the injury-in-fact requirement for standing. The

anticipated delay in adjudicating grant applications because of the loss of AmeriCorps staff, on its

own, is not a concrete harm. Insofar as the States identify concrete harms that may result from the

delays—lack of funding, delayed starts to programs, and inability to plan or secure other funding—

these future harms are possible but not concrete. “Allegations of possible future injury do not

satisfy the requirements of Art[icle] III.” Whitmore v. Arkansas, 498 U.S. 149, 158 (1990)

(emphasis added). Instead, a plaintiff must show that “the threatened injury is ‘certainly

impending,’ or there is a ‘substantial risk that the harm will occur.’” Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 158 (2014) (quoting Clapper, 568 U.S. at 414 n.5). At this point, the Court

can only speculate about how the grant application process will unfold over the next few months

and what the fallout of the staffing reductions will entail. Daly and the States’ concerns about how

delays in processing grant applications will cause the States harm are not unfounded, but right

now, the anticipated harms are “too speculative to satisfy the well-established requirement that

threatened injury must be ‘certainly impending.’” See Clapper, 568 U.S. at 401 (quoting Whitmore,

498 U.S. at 158).

       The States also claim they have been injured because the state service commissions have

had to field questions about AmeriCorps programs they do not administer because there are not




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enough AmeriCorps staff members left to answer their questions. See ECF 124, at 4 (citing ECF

5-39, ¶ 49 (R.I. decl.)). This, too, does not satisfy the injury requirement. The Supreme Court

recently rejected a similar theory of injury. See OPM v. Am. Fed’n of Gov’t Emps., AFL-CIO, No.

24A904, 2025 WL 1035208 (U.S. Apr. 8, 2025). At the district court, a group of nonprofits and

unions challenged staff reductions across several federal agencies. Am. Fed’n of Gov’t Emps., AFL-

CIO, 2025 WL 660053, at *3. One of the plaintiff nonprofits, Vote Vets Action Fund (“VoteVets”),

challenged a staff reduction of more than 1,000 employees at the Department of Veterans Affairs.

Id. at *11. The district court found that the nonprofit had standing to challenge the staffing

terminations based on the nonprofit chairman’s statement that, because of the terminations, “[t]he

time of VoteVets’ staff and consultants has been diverted from VoteVets’ regular activities to field

and respond to inquiries from veterans and their families and to connect them with case workers

in congressional offices.” Id. at *12. The district court found standing in part because VoteVets had

“been forced to divert ‘almost all of [their] resources’ in ‘counteracting the problem,’ depriving

the organization of its ability to continue to provide services to its members.” Id. (alteration in

original) (citation omitted). It granted a temporary restraining order and then a preliminary

injunction. Id.; see Am. Fed’n of Gov’t Emps., AFL-CIO v. OPM, No. 25-cv-1780, 2025 WL

820782, at *8 (N.D. Cal. Mar. 14, 2025). The Supreme Court stayed the injunction because the

allegations of the nonprofits were “insufficient to support the organizations’ standing.” OPM, 2025

WL 1035208, at *1 (citing Clapper, 568 U.S. 398). Here, the States’ alleged injury from having to

field questions about impacted programs they do not administer likewise is insufficient to support

standing.

       Even if the States could establish injury-in-fact, they have not established that this Court

could redress their injuries from the RIF. “To satisfy the redressability element of standing, a




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plaintiff ‘must show that it is likely, as opposed to merely speculative, that the injury will be

redressed by a favorable decision.’” Deal v. Mercer Cnty. Bd. of Educ., 911 F.3d 183, 189 (4th Cir.

2018) (quoting Sierra Club v. U.S. Dep’t of the Interior, 899 F.3d 260, 284 (4th Cir. 2018)). “The

burden imposed by this requirement is not onerous.” Id. A plaintiff only needs to show that they

“personally would benefit in a tangible way from the court’s intervention.” Sierra Club, 899 F.3d

at 284 (quoting Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149, 162

(4th Cir. 2000) (en banc)).

          The States have not cleared this modest hurdle. If the Court were to find in favor of the

States on their claims that the staffing reductions violated the APA (or the separation of powers)

and to order the reinstatement of the terminated AmeriCorps staff, the Court could not tell the

agency how to prioritize agency needs or direct the day-to-day operations of the staff. The priorities

and assignments of employees would be within the discretion of the agency, not this Court. The

States’ theory of standing to challenge the agency’s staffing reduction is premised on the

unfounded assumption that the AmeriCorps employees would return seamlessly to their prior roles

and functions and respond to communications and complete tasks in the timeframe the States

expect. The Court cannot make that assumption. The States have not established their injuries

resulting from the staffing reduction would be redressed by reinstating the terminated AmeriCorps

staff.

          In sum, the States have not shown that they have standing to challenge AmeriCorps’s

reduction in staffing. Their asserted injuries are either not concrete or speculative. And an

injunction enjoining the reduction in staffing and ordering agency staff to return to work is not

likely to redress their asserted injuries. Because the States do not have standing to challenge the




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agency’s staffing decisions, the Court denies the States’ request to enjoin the reduction in

AmeriCorps staff.

       D.      The Tucker Act and Jurisdiction over the States’ Claims

       The parties dispute whether this Court or the Court of Federal Claims has jurisdiction over

the States’ claims. The States argue this case belongs in this Court; the defendants argue this case

belongs in the Court of Federal Claims.

       “The United States is immune from suit unless it unequivocally consents.” Me. Cmty.

Health Options v. United States, 590 U.S. 296, 322 (2020). Through the APA, the United States

has consented to suit in the U.S. district courts by a person “suffering legal wrong because

of agency action, or adversely affected or aggrieved by agency action.” 5 U.S.C. § 702. The APA’s

waiver of sovereign immunity only applies to “[a]n action in a court of the United States seeking

relief other than money damages.” Id. Judicial review under the APA is available only for “final

agency action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704. Through

the Tucker Act, the United States has consented to suit in the Court of Federal Claims for “any

claim against the United States founded either upon the Constitution, or any Act of Congress or

any regulation of an executive department, or upon any express or implied contract with the United

States.” 28 U.S.C. § 1491(a)(1). In these suits, the aggrieved party may seek money damages. See

Me. Cmty. Health Options, 590 U.S. at 321–22. If “‘a plaintiff has an adequate remedy by suit

under the Tucker Act,’ they are precluded from review under the APA.” Coleman v. Kendall, 74

F.4th 610, 615 (4th Cir. 2023) (quoting Randall v. United States, 95 F.3d 339, 346 (4th Cir. 1996)).

“The interplay between the Tucker Act and the APA is somewhat complicated and raises some

significant issues of federal court jurisdiction.” Randall, 95 F.3d at 346.




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        The States contend the Court has jurisdiction over their APA claims because they have been

aggrieved by AmeriCorps’s actions, they seek equitable relief not money damages, and they do

not have an adequate remedy under the Tucker Act. AmeriCorps contends the States’ APA claims,

when stripped to their essence, are breach of contract claims for money damages against the United

States that must be filed in the Court of Federal Claims. If the States’ claims are what the States

say they are, they belong here. If the States’ claims are essentially breach of contract claims for

monetary damages, they belong in the Court of Federal Claims.

        Whether the States’ claims are at their “essence” contract claims depends on (1) “the source

of the rights” upon which the States base their claims and (2) “the type of relief sought (or

appropriate).” Megapulse, Inc. v. Lewis, 672 F.2d 959, 968 (D.C. Cir. 1982). To answer these

questions, the Court “must look beyond the form of the pleadings to the substance of the claim.”

Suburban Mortg. Assocs., Inc. v. U.S. Dep’t of Hous. & Urb. Dev., 480 F.3d 1116, 1124 (Fed. Cir.

2007). If the States’ claims are contractual at their “essence,” the States must seek relief in the

Court of Federal Claims. Crowley Gov’t Servs., Inc. v. GSA, 38 F.4th 1099, 1102 (D.C. Cir. 2022)

(quoting Megapulse, 672 F.2d at 967).

                1. Source of the Rights

        The parties dispute the source of the rights on which the States base their claims. In the

States’ view, the source of their rights is federal statutes. In the defendants’ view, the source of the

rights is the terminated grants. To resolve this dispute, the Court “consider[s] whether, among other

factors, the plaintiff[s’] asserted rights and the government’s purported authority arise from

statute,” “whether the plaintiff[s’] rights ‘exist[ ] prior to and apart from rights created under the

contract,’” and “whether the plaintiff[s] ‘seek[] to enforce any duty imposed upon’ the government

‘by the . . . relevant contracts to which’ the government ‘is a party.’” Crowley, 38 F.4th at 1107




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(fourth alteration in original) (first quoting Spectrum Leasing Corp., 764 F.2d 891, 894 (D.C. Cir.

1985); and then quoting Perry Cap. LLC v. Mnuchin, 864 F.3d 591, 619 (D.C. Cir. 2017)).

        Applying these factors here, the Court finds that the sources of the States’ rights on which

they base their claims are federal statutes, not the grants. In their complaint, the States assert rights

that arise from federal laws that AmeriCorps allegedly violated when it terminated the AmeriCorps

grants, forced the exiting and removal of AmeriCorps members and VISTA members, and removed

NCCC members from service. 14 The States allege that AmeriCorps did not comply with, among

other statutory provisions, the notice-and-comment rulemaking requirement in the 2024

Appropriations Act and the 2025 Appropriations Act. 15 The right asserted—to participate in notice-

and-comment rulemaking prior to significant changes to AmeriCorps’s program requirements,

service delivery or policy—is separate and apart from any rights that States have under the grants.

In fact, the States do not allege that AmeriCorps violated the terms of the grants or that AmeriCorps

owes them a duty under the grants. And the defendants never refer to the terms of the grants either.

Indeed, they affirm that “the terminated grants at present were not terminated because of a failure

to follow the material terms of the corresponding grant.” ECF 106, at 31. The agency’s “purported



14
  The defendants do not argue that the States must bring their claims challenging the removal of
NCCC members in the Court of Federal Claims. Thus, the remainder of the Court’s analysis in this
section focuses on the claims involving the closure of AmeriCorps-funded programs.
15
  Because, as discussed later, the plaintiffs have demonstrated a likelihood of success on the merits
of their claim that the defendants violated the APA by failing to engage in notice-and-comment
rulemaking, the Court’s analysis focuses on this claim. However, the other claims brought by the
plaintiffs, which the Court does not reach at this stage, are also grounded in alleged violations of
federal statutes and the U.S. Constitution, including the claims that AmeriCorps acted arbitrarily
and capriciously and in excess of statutory authority, that AmeriCorps did not give the States an
opportunity to challenge the grant terminations in violation of 42 U.S.C. § 12636(a)(2)(B), that
AmeriCorps made changes in national service priorities without providing the States with advance
notice in violation of 42 U.S.C. § 12572(f)(2), that AmeriCorps deprived states of congressionally
mandated grant funding in violation of 42 U.S.C. § 12581(e), and that AmeriCorps violated the
separation of powers doctrine. ECF 1, ¶¶ 207–17, 226–37.


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authority,” Crowley, 38 F.4th at 1107, for terminating the grants is a federal regulation that

AmeriCorps cited in the termination letters. See ECF 1-7 (citing 2 C.F.R. § 200.340(a)(4)). The

grant terms are simply not relevant to this case at all. “[I]t would be quite extraordinary to consider

Plaintiffs’ claims to sound in breach of contract when they do not at all depend on whether the

terms of particular awards were breached—they instead challenge whether the agency action here

was unlawful, irrespective of any breach.” Aids Vaccine Advocacy Coal. v. Dep’t of State, No. CV

25-00400, 2025 WL 752378, at *9 (D.D.C. Mar. 10, 2025), stay denied, 145 S. Ct. 753 (2025)

(mem.). The source of the rights for the States’ notice-and-comment claims is a federal statute, not

the grants. See Md. Dep’t of Hum. Res. v. Dep’t of Health & Hum. Servs., 763 F.2d 1441, 1449

(D.C. Cir. 1985) (“Maryland’s claims ar[o]se under a federal grant program and turn[ed] on the

interpretation of statutes and regulations rather than on the interpretation of an agreement

negotiated by the parties.”).

               2. Type of Relief Sought

       The Court next considers whether the type of relief sought indicates the States’ claims are,

at their essence, contract claims. “The crux of this inquiry . . . boils down to whether” the States

“effectively seek[] to attain monetary damages in the suit.” See Crowley, 38 F.4th at 1107. The

defendants argue that the “heart of this action . . . is a request to prevent the termination of those

programs that are funded by grants or to enforce the monetary obligations of the government

pursuant to” the grants. ECF 106, at 20. They insist that the States’ requested relief is “reopening

the spigot of grant disbursement.” Id. at 21. As the agency sees it, because the States seek to force

the government to keep paying them the funds under the grants, the States’ claims are really breach

of contract claims that must be filed in the Court of Federal Claims. The States, on the other hand,




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insist they seek equitable relief, not money damages, and that this Court, not the Court of Federal

Claims, has jurisdiction over their suit.

       “To determine whether a plaintiff seeks primarily injunctive relief such that a district court

has jurisdiction over his claim, courts must look to the ‘essence’ of the complaint and whether the

relief requested is ‘not . . . an incident of, or collateral to, a monetary award.’” Coleman, 74 F.4th

at 615–16 (quoting Randall, 95 F.3d at 347). “A plaintiff does not ‘in essence’ seek monetary relief,

however, merely because he or she hints at some interest in a monetary reward from the federal

government or because success on the merits may obligate the United States to pay the

complainant.” Kidwell v. Dep’t of Army, 56 F.3d 279, 284 (D.C. Cir. 1995). Still, “Claims Court

jurisdiction cannot be avoided by framing an essentially monetary claim in injunctive or

declaratory terms.” Portsmouth Redev. & Hous. Auth. v. Pierce, 706 F.2d 471, 474 (4th Cir. 1983).

       Bowen v. Massachusetts, 487 U.S. 879 (1988), is instructive. There, the Supreme Court

held that the APA’s provision that precludes actions for “money damages” against the federal

government, 5 U.S.C. § 702, “does not bar a State from seeking specific relief to obtain money to

which it claims entitlement under the federal Medicaid statute,” Great-West Life & Annuity Ins. v.

Knudson, 534 U.S. 204, 212 (2002). In Bowen, Massachusetts sued the Secretary of Health and

Human Services for alleged APA violations, seeking to enjoin the Secretary’s refusal “to reimburse

a State for a category of expenditures under its Medicaid program.” 487 U.S. at 882. The Supreme

Court concluded that the district court had jurisdiction to hear the case. Id. at 883. This was because

the plaintiff was not seeking money damages, even though the relief sought involved the payment

of money. Id. at 893. Rather, the plaintiff sought to enjoin the agency from refusing to reimburse

the state for certain expenditures under the Medicaid program. Id. at 893–94. Specifically,

Massachusetts sought “to enforce § 1396b(a) of the Medicaid Act, which provides that the




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Secretary [of Health and Human Services] ‘shall pay’ certain amounts for appropriate Medicaid

services.” Id. at 900. The Court rejected the argument that the state brought a suit for money

damages, even though the suit sought to “enforce the statutory mandate . . . which happens to be

one for the payment of money.” Id. As the Supreme Court explained, “[t]he fact that a judicial

remedy may require one party to pay money to another is not a sufficient reason to characterize

the relief as ‘money damages.’” Id. at 893. If the district court’s judgment led the Secretary to

“reimburse Massachusetts the requested sum,” then “this outcome is a mere by-product of that

court’s primary function of reviewing the Secretary’s interpretation of federal law.” Id. at 910. The

Bowen Court reasoned that money damages “are given to the plaintiff to substitute for a suffered

loss, whereas specific remedies are not substitute remedies at all, but attempt to give the plaintiff

the very thing to which he was entitled.” Id. at 895 (internal quotation marks & emphasis omitted)

(quoting Md. Dep’t of Hum. Res., 763 F.2d at 1446). Bowen thus rejected the notion that all forms

of monetary relief are also monetary damages. Id. at 897–98.

       Since Bowen, the Supreme Court has confirmed that Bowen “did not deal with specific

performance of a contractual obligation to pay past due sums.” Great-West Life, 534 U.S. at 212.

See also Me. Cmty. Health Options, 590 U.S. at 326 (“In Bowen, the State did not seek money

damages, but instead sued for prospective declaratory and injunctive relief to clarify the extent of

the Government’s ongoing obligations under the Medicaid program.”).

       Here, as in Bowen, the essence of the complaint and requested relief is equitable, not

monetary. The States do not request any monetary damages. They do not seek money as a substitute

for a loss, see Bowen, 487 U.S. at 895, or “specific sums already calculated, past due, and designed

to compensate for completed labors,” see Me. Cmty. Health Options, 590 U.S. at 327. Instead, the

States seek declaratory and prospective injunctive relief. Specifically, they seek a declaration “that




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the decision to dismantle AmeriCorps and actions taken to effectuate it are unlawful and/or

unconstitutional because they violate the APA and/or the United States Constitution.” ECF 1, at

63. They seek an injunction that would “postpone the effective date of the decision to dismantle

AmeriCorps and actions taken to effectuate it,” “vacate the decision to dismantle AmeriCorps and

actions taken to effectuate it,” and enjoin the defendants “from effectuating the decision to

dismantle AmeriCorps.” Id. To be sure, the “decision to dismantle AmeriCorps” described in the

States’ complaint includes the decision to terminate grants awarded to the States. But that their

requested relief will “require one party to pay money to another is not a sufficient reason to

characterize the relief as ‘money damages.’” See Bowen, 487 U.S. at 893.

       In addition to the relief that is sought, the Court also considers the relief that is

“appropriate.” Megapulse, 672 F.2d at 968. The appropriate relief here, as discussed later, is

enjoining the agency actions that were “significant changes” to “program requirements, service

delivery or policy” made without public notice-and-comment rulemaking in violation of

Congress’s instructions in its annual appropriations for the agency. See 2024 Appropriations Act §

401, 138 Stat. at 695. This relief requires the agency to restore the status quo before it made these

“significant changes” and thus to restore the AmeriCorps programs, including the grant awards

and the AmeriCorps members and VISTA members associated with the programs. That the relief

requires AmeriCorps to ultimately disburse grant funds does not mean monetary damages are the

essence of the relief. See Kidwell, 56 F.3d at 284. As the Supreme Court held in Bowen, simply

because the appropriate relief “may require one party to pay money to another” does not strip this

Court of jurisdiction. See Bowen, 487 U.S. at 893, 910.

       The essence of the appropriate relief in this case is the enforcement of the congressionally

mandated notice-and-comment rulemaking requirement for “any significant changes” to “program




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requirements, service delivery or policy.” That a Court Order enjoining the grant terminations will

result in payment of funds to the States is “a mere by-product of [the] court’s primary function” of

reviewing agency action under the APA. See id. at 910.

       After examination of the rights asserted and the requested and appropriate relief, the Court

easily concludes that the States’ APA claims are not, in “essence,” contract claims. See Megapulse,

672 F.2d at 968.

       Moreover, the Tucker Act does not provide the States with an adequate remedy. The Tucker

Act “authorize[s] courts to award injunctive relief in limited circumstances, when such relief is

necessary to provide an entire remedy and when the injunction is ‘an incident of and collateral to’

an award of monetary relief.” Randall, 95 F.3d at 347 (quoting 28 U.S.C. § 1491(a)(2)). This

authorization under § 1491(a)(2) is limited:

       To provide an entire remedy and to complete the relief afforded by the judgment,
       the court may, as an incident of and collateral to any such judgment, issue orders
       directing restoration to office or position, placement in appropriate duty or
       retirement status, and correction of applicable records, and such orders may be
       issued to any appropriate official of the United States.

The scope of this authorization to grant injunctive relief does not include enjoining the closure of

AmeriCorps programs, requiring the agency to engage in notice-and-comment rulemaking,

reinstating terminated grants, and returning AmeriCorps and VISTA members to their programs. 16




16
   While the defendants argue that this action, in essence, is to compel the government to pay out
amounts owed under the grant agreements between the States and AmeriCorps, restoration of the
grant funding alone is insufficient to restore the members who worked on the terminated programs.
VISTA members receive their living allowance directly from AmeriCorps. The States are not
seeking money to retain VISTA members; they are seeking the re-assignment of VISTA members
to their service projects. And while AmeriCorps members’ living allowances are paid out of the
terminated grant funds, their education awards for completing service are paid directly out of the
National Service Trust. Restoration of grant funds alone will not remedy the States’ harm caused
by the termination of AmeriCorps programs.



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Because of the narrow scope of equitable relief available under the Tucker Act, the States cannot

obtain this relief in the Court of Federal Claims.

       The Federal Circuit has confirmed as much. In Katz v. Cisneros, the Federal Circuit

reversed a district court’s order transferring a case to the Court of Federal Claims, concluding that

the Tucker Act did not deprive the district court of jurisdiction over a claim brought by a housing

developer seeking contract payments reduced by an order of the Department of Housing and Urban

Development (“HUD”). 16 F.3d 1204, 1208–09 (Fed. Cir. 1994). The Federal Circuit determined

that the developer could not obtain relief in the Court of Federal Claims because it sought

prospective relief and “payments to which it alleges it is entitled pursuant to federal statute and

regulations” rather than “money as compensation for a loss suffered.” Id. at 1208. 17 The developer

challenged HUD’s interpretation of regulations that impacted its payments under a contract. Id. at

1206. The Katz Court concluded that “[a]n adjudication of the lawfulness of HUD’s regulatory

interpretation will have future impact on the ongoing relationship between the parties” and “[t]he

Court of Federal Claims cannot provide this relief.” Id. at 1209. The case at its root was a

“challenge[] [to] the interpretation of law which controls payments to [the developer],” rather than

“a contract case.” Id. The developer “challenged HUD’s actions as a regulator.” Id. The Court of

Federal Claims did not have jurisdiction over the case even if, after HUD’s interpretation of the

regulation had been adjudicated, “monetary consequences [would] flow through the contractual

scheme.” Id.

       Here, too, the States seek prospective relief, rather than “money as compensation for loss

suffered.” See id. at 1208. The only appropriate remedy for the alleged violation of the notice-and-



17
  The Federal Circuit also determined that the Court of Federal Claims lacked jurisdiction over
the case because there was no privity of contract between the developer and the government. See
Katz, 16 F.3d at 1210. However, it did not ground its holding in the lack of privity alone.


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comment requirement is to restore the AmeriCorps programs, including both the grant funding and

members, until the agency conducts notice-and-comment rulemaking. The Court of Federal Claims

cannot award this prospective relief. See id. at 1209. Even if “monetary consequences will flow

through the [grants],” the Tucker Act is not the proper avenue of relief. See id.

       The defendants insist that the Supreme Court’s April 4, 2025 per curiam opinion in

Department of Education v. California, 145 S. Ct. 966 (2025), requires this Court to find that it

does not have jurisdiction over the States’ claims. In California, the Supreme Court stayed a

temporary restraining order “enjoining the Government from terminating various education-

related grants.” Id. at 968. The District of Massachusetts had found that the plaintiff states were

likely to succeed on their APA claims and issued a TRO requiring the government “to pay out past-

due grant obligations and to continue paying obligations as they accrue.” Id. The First Circuit

denied the government’s motion for a stay, brought in part based on the government’s contention

that the district court lacked jurisdiction over the suit because it belonged in the Court of Federal

Claims. California v. U.S. Dep’t of Educ., 132 F.4th 92, 96–97 (1st Cir. 2025). The First Circuit

determined that, “although the terms and conditions of each individual grant award [we]re at

issue,” the Tucker Act did not divest the district court of jurisdiction. Id. On the government’s

emergency application, the Supreme Court stayed the TRO because the government was “likely to

succeed in showing the District Court lacked jurisdiction to order the payment of money under the

APA.” California, 145 S. Ct. at 968. The Court recognized that, under Bowen, “a district court’s

jurisdiction ‘is not barred by the possibility’ that an order setting aside an agency’s action may

result in the disbursement of funds.” Id. (quoting Bowen, 487 U.S. at 910). However, the Court

reasoned that the “APA’s limited waiver of immunity does not extend to orders ‘to enforce a

contractual obligation to pay money’ along the lines of what the District Court ordered here.” Id.




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(quoting Great-West Life, 534 U.S. at 212). The Court also found that, because the plaintiffs

“represented in th[at] litigation that they ha[d] the financial wherewithal to keep their programs

running,” they could “recover any wrongfully withheld funds through suit in an appropriate

forum.” Id. at 969.

       California does not compel the conclusion that this Court lacks jurisdiction over the States’

claims. The California Court’s “stay order is not a ruling on the merits,” see Merrill v. Milligan,

142 S. Ct. 879, 879 (2022) (Kavanaugh, J., concurring), even if it provides “a window into the

Supreme Court’s view of the merits,” CASA de Md., Inc. v. Trump, 971 F.3d 220, 230 (4th Cir.

2020), vacated for reh’g en banc, 981 F.3d 311 (4th Cir. 2020) (dismissed Mar. 11, 2021). While

lower courts certainly must respect Supreme Court stay orders issued on the Court’s emergency

docket, see CASA, 971 F.3d at 230, California did not overturn Bowen, and under Bowen, the

States’ claims are not, at their essence, contract claims. Also, California is factually

distinguishable. There, “the terms and conditions of each individual grant award [we]re at issue.”

California, 132 F.4th at 96–97. Here, neither party relies on the terms and conditions of individual

grant awards to either raise or defend against the legal challenge. Here, the States do not seek pay

out for past-due grant obligations or enforcement of a contractual obligation to pay money. And

here, the appropriate relief is not an order requiring the defendants “to pay out past-due grant

obligations and to continue paying obligations as they accrue.” See California, 145 S. Ct. at 968.

The relief here remedies the defendants’ violation of a legal obligation to make changes to

AmeriCorps “program requirements, service delivery or policy” only through public notice-and-

comment rulemaking. See 2024 Appropriations Act § 401, 138 Stat. at 695. And in contrast to the

plaintiffs in California, who “represented . . . that they have the financial wherewithal to keep their

programs running” and could “recover any wrongfully withheld funds through suit in an




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appropriate forum,” California, 145 S. Ct. at 969, here, as discussed below, the States have shown

that they will suffer irreparable harm from the loss of not only grant funding but also AmeriCorps

and VISTA members serving states service programs.

       AmeriCorps also relies on U.S. Conference of Catholic Bishops v. U.S. Department of State,

No. 25-CV-00465, 2025 WL 763738 (D.D.C. Mar. 11, 2025), and Solutions in Hometown

Connections v. Noem, No. LKG-25-885, 2025 WL 1103253 (D. Md. Apr. 14, 2025). In Conference

of Catholic Bishops, the court understood the plaintiff to seek “an award of money due.” 2025 WL

763738, at *5. This Court does not understand the States to seek a similar money award. In

Solutions in Hometown Connections, the Homeland Security Secretary decided “to indefinitely

freeze, and to ultimately terminate, certain grants” issued by the United States Citizenship and

Immigration Services to, among other things, “assist lawful permanent residents with learning

English, studying for the citizenship test and applying to be naturalized citizen.” 2025 WL

1103253, at *1. The court concluded that the relief sought was money damages because the

plaintiffs were seeking “reimbursement for expenses already incurred in reliance upon the terms

of their Grants,” id. at *11, akin to the specific past due sums discussed in Maine Community

Health Options, 590 U.S. at 327. Unlike the plaintiffs in these cases, the States do not seek

reimbursement for expenses incurred or money damages “to substitute for a suffered loss.” See

Bowen, 487 U.S. at 895 (emphasis omitted) (quoting Md. Dep’t of Hum. Res., 763 F.2d at 1446).

       Since Megapulse, the District of Columbia Circuit has warned against a Tucker Act

interpretation that is “so broad as to deny a court jurisdiction to consider a claim that is validly

based on grounds other than a contractual relationship with the government.” 672 F.2d at 968. The




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States’ claims are not contractual in nature. This Court has jurisdiction over them. 18

     III.        Preliminary Injunction

            To obtain a preliminary injunction, the States must establish (1) that they are likely to

succeed on the merits; (2) that they are likely to suffer irreparable harm if preliminary relief is not

granted; (3) that the balance of equities favors them; and (4) that an injunction is in the public

interest. See Frazier v. Prince George’s County, 86 F.4th 537, 543 (4th Cir. 2023) (citing Winter,

555 U.S. at 20).

            A.      Likelihood of Success on the Merits

            The States are likely to succeed on the merits of their APA claim that the agency’s failure

to engage in notice-and-comment rulemaking before closing AmeriCorps programs and ending the

service of NCCC members was not in accordance with the law.




18
   Other district courts have reached similar conclusions in grant termination cases decided after
the Supreme Court’s grant of a stay in California. See, e.g., Sustainability Inst. v. Trump, No. 25-
CV-2152, 2025 WL 1486978, at *1–6 (D.S.C. Apr. 29, 2025) (finding jurisdiction over APA claims
brought after the federal government froze funding and distinguishing California because “the
terms and conditions of the individual grants are not at issue here” and “[p]laintiffs have provided
considerable evidence of irreparable harm should they not regain access to their grant funding”);
S. Educ. Found. v. U.S. Dep’t of Educ., No. 25-CV-1079, 2025 WL 1453047, at *5–11 (D.D.C.
May 21, 2025) (holding the district court had jurisdiction over APA and non-APA claims arising
out of federal grant terminations); Climate United Fund v. Citibank, N.A., No. 25-CV-698, 2025
WL 1131412, at *9–12 (D.D.C. Apr. 16, 2025) (holding Tucker Act did not apply to claims that
EPA violated the APA and Constitution by terminating grants); Woonasquatucket River Watershed
Council v. U.S. Dep’t of Agric., No. 25-CV-00097, 2025 WL 1116157, at *14 (D.R.I. Apr. 15, 2025)
(holding Tucker Act did not apply to claims that agencies violated the APA by freezing grants and
contracts authorized under two federal statutes); Maine v. U.S. Dep’t of Agric., No. 25-CV-00131,
2025 WL 1088946, at *19 (D. Me. Apr. 11, 2025) (holding Tucker Act did not apply to claims
challenging agencies’ “compliance with the APA”); Pacito v. Trump, No. 25-CV-255, 2025 WL
1077401 (W.D. Wash. Apr. 9, 2025) (holding Tucker Act did not apply to claims challenging
termination of funding for United States Refugee Assistance Program because plaintiffs asserted
“rights derived from statutory mandates, not contractual promises, and [sought] equitable
enforcement of statutory obligations, not contractual remedies”).


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       The APA directs courts to “hold unlawful and set aside agency action, findings, and

conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law” or “in excess of statutory jurisdiction, authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A),(C). “Congress enacted the APA to provide a general

authorization for review of agency action in the district courts.” Bowen, 487 U.S. at 903. The APA

“requires agencies to engage in ‘reasoned decisionmaking’” and establishes procedures for judicial

review and “accountab[ility] to the public.” Dept. of Homeland Sec. v. Regents of the Univ. of Cal.,

591 U.S. 1, 16 (2020) (first quoting Michigan v. EPA, 576 U.S. 743, 750 (2015) (internal quotation

marks omitted), and then quoting Franklin v. Massachusetts, 505 U.S. 788, 796 (1992)).

       “[W]here an agency’s decision does not comport with governing statutes or regulations,

that decision is ‘not in accordance with law’ and must be set aside.” J.E.C.M. ex rel. Saravia v.

Lloyd, 352 F. Supp. 3d 559, 583 (E.D. Va. 2018). An agency’s “order may not stand if the agency

has misconceived the law.” SEC v. Chenery Corp., 318 U.S. 80, 94 (1943). In determining whether

agency action is “not in accordance with law,” the court must “bear[] in mind that it is [the court’s]

duty under the APA to ‘decide all relevant questions of law’ and to ‘interpret constitutional and

statutory provisions.’” Perez v. Cuccinelli, 949 F.3d 865, 872 (4th Cir. 2020) (citing 5 U.S.C.

§ 706); see also Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391–92 (2024) (“The APA thus

codifies for agency cases the unremarkable, yet elemental proposition reflected by judicial practice

dating back to Marbury: that courts decide legal questions by applying their own judgment.”).

       “Generally, an agency decision is arbitrary and capricious if ‘the agency has relied on

factors which Congress has not intended it to consider, entirely failed to consider an important

aspect of the problem, offered an explanation for its decision that runs counter to the evidence

before the agency, or is so implausible that it could not be ascribed to a difference in view or the




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product of agency expertise.’” Sierra Club, 899 F.3d at 293 (quoting Motor Vehicle Mfrs. Ass’n v.

State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983)). Of course, “‘agencies are free to change their

existing policies as long as they provide a reasoned explanation for the change,’ ‘display awareness

that they are changing position,’ and consider ‘serious reliance interests.’” FDA v. Wages & White

Lion Invs., L.L.C., 145 S. Ct. 898, 917 (2025) (cleaned up) (quoting Encino Motorcars, LLC v.

Navarro, 579 U.S. 211, 221–22 (2016)).

       The States allege that the agency violated the APA by failing to engage in notice-and-

comment rulemaking before terminating 1,031 AmeriCorps programs and more than 750 NCCC

members. A violation of a notice-and-comment rulemaking requirement can run afoul of the APA

in three ways. An agency acts “contrary to law” when it fails to engage in notice-and-comment

procedures “explicitly required” by Congress. Michigan v. EPA, 268 F.3d 1075, 1088, 1089 (D.C.

Cir. 2001) (“In making such determinations EPA must use notice and comment proceedings. . . .

Because Congress’s intent is clear, EPA’s proposed approach is simply contrary to law.”). Failure

to adhere to a notice-and-comment rulemaking requirement is an action not “made in ‘observance

of procedure required by law.’” HLI Lordship Indus., Inc. v. Comm. for Purchase from the Blind

& Other Severely Handicapped, 791 F.2d 1136, 1140 (4th Cir. 1986) (quoting 5 U.S.C.

§ 706(2)(D)). And such actions also “may be set aside as arbitrary and capricious.” Safari Club

Int’l v. Zinke, 878 F.3d 316, 325 (D.C. Cir. 2017).

       In the act appropriating AmeriCorps funding for Fiscal Year 2024, Congress included the

following requirement: “[AmeriCorps] shall make any significant changes to program

requirements, service delivery or policy only through public notice and comment rulemaking.”

2024 Appropriations Act § 401, 138 Stat. at 695. Congress re-adopted this requirement for Fiscal

Year 2025 by reference. See 2025 Appropriations Act § 1101(a), 139 Stat. at 10–11 (appropriating




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funds for Fiscal Year 2025 “under the authority and conditions provided in applicable

appropriations Acts for fiscal year 2024” (emphasis added)). In fact, this provision has been in the

annual appropriations bill funding AmeriCorps for many years. See, e.g., Consolidated

Appropriations Act, 2023, Pub. L. No. 117-328, § 401, 136 Stat. 4459, 4900 (2022)

(“[AmeriCorps] shall make any significant changes to program requirements, service delivery or

policy only through public notice and comment rulemaking.”); Consolidated Appropriations Act,

2022, Pub. L. No. 117-103, § 401, 136 Stat. 49, 488 (same). A version of this requirement first

appeared in the 2004 appropriations statute, directing AmeriCorps to “make any significant

changes to program requirements or policy only through public notice and comment rulemaking.”

Consolidated Appropriations Act, 2004, Pub. L. No. 108-199, 118 Stat. 3, 402. The agency argues

that this notice-and-comment provision does not apply to the agency actions challenged here. The

Court disagrees.

       “When construing a statute, we start with its text.” Raplee v. United States, 842 F.3d 328,

332 (4th Cir. 2016). “‘[A]bsent ambiguity or a clearly expressed legislative intent to the contrary,’

we . . . give a statute its ‘plain meaning.’” United States v. Abdelshafi, 592 F.3d 602, 607 (4th Cir.

2010) (alteration in original) (quoting United States v. Bell, 5 F.3d 64, 68 (4th Cir. 1993)). “To

determine a statute’s plain meaning, this court looks not only to the statute’s language, but also to

the context in which that language appears, and the broader context of the statute as a whole.”

Pharm. Coal., 126 F.4th at 953.

       The statute says: “[AmeriCorps] shall make any significant changes to program

requirements, service delivery or policy only through public notice and comment rulemaking.”

2024 Appropriations Act § 401, 138 Stat. at 695. By the statute’s unambiguous terms, AmeriCorps

may make “any significant changes” to “program requirements,” “service delivery,” and “policy”




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only through “public notice and comment rulemaking.” The government seems to interpret the text

to require notice-and-comment rulemaking for service delivery changes only if there is a change

in “‘service delivery’ . . . requirements.” See ECF 106, at 29. This strained interpretation distorts

the plain language of the statute. The word “requirements” is modified only by “program”; it is

not modified by “service.” The text simply does not say, and cannot be reasonably read to say, that

notice-and-comment rulemaking is required before AmeriCorps may make any significant changes

to “service delivery requirements.” 19

       The term “service delivery” plainly means the delivery of service through service programs

funded by AmeriCorps and carried out with the help of volunteers and service members. Neither

party suggests a different understanding of the term. Consideration of the “specific context in

which [the] language is used, and the broader context of the statute as a whole” confirms this

interpretation of “service delivery.” See In re Total Realty Mgmt., LLC, 706 F.3d 245, 251 (4th

Cir. 2013) (quoting Holland v. Big River Minerals Corp., 181 F.3d 597, 603 (4th Cir. 1999)).

Congress included the notice-and-comment requirement in the annual appropriations bill that

funded AmeriCorps “to carry out” the statutes that authorized the terminated AmeriCorps grants,

the national service positions that are no longer filled with AmeriCorps members, the VISTA

program, and the NCCC. See 2024 Appropriations Act,138 Stat. at 694–95. Those statutes

authorize AmeriCorps to make grants to support the planning, operation, and expansion of service

programs; to approve AmeriCorps member positions to carry out those programs; to recruit and




19
  The government also suggests that “service” modifies not only “delivery” but also “policy” such
that notice-and-comment rulemaking is required before making changes to “service delivery” and
“service policy.” See ECF 106, at 29. Regardless of whether “service” modifies both “delivery”
and “policy,” the text is clear and unambiguous: “[A]ny significant changes” to “service delivery”
may be made only through public notice-and-comment rulemaking.



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place VISTA members in full-time volunteer positions; and to create the NCCC to “carry out” the

purpose of “meet[ing] national and community needs” by working in teams to complete service

projects. See 42 U.S.C. §§ 4951 et seq.; id. §§ 12571 et seq.; id. §§ 12611 et seq. 20

       On April 25, 2025, in one fell swoop, the agency closed hundreds of AmeriCorps service

programs in every state, abruptly cut off nearly $400 million in program funding (which represents

about half of all AmeriCorps funding), and required programs to “cease all award activities.” See

ECF 1-6, at 3–19; see, e.g., ECF 1-7, at 2. More than 80 percent of the programs cut were

AmeriCorps State and National programs—the largest grant program that AmeriCorps runs. ECF

1, ¶ 178. In addition to the loss of program funding, grantees were instructed that all AmeriCorps

member activity must “cease immediately” and to exit all AmeriCorps members serving on the

programs due to “program closure.” See, e.g., ECF 1-7, at 3. Program closures impacted roughly

30,000 AmeriCorps and VISTA members. See ECF 1-6, at 3. As a result of the mass program

closures, entities selected to operate and plan national service programs lost an essential source of

funding, AmeriCorps members were exited from their national service positions, and VISTA

members have been removed from service projects. This has led to significant disruptions in the

delivery of services, including the termination or suspension of childhood literacy programs,

tutoring, mobility access, assistance with college admissions for rural students, and classroom

support at early childhood centers. See, e.g., ECF 5-9, ¶ 21 (Conn. decl.); ECF 5-13, ¶ 8.c (Del.

decl.); ECF 5-22, ¶¶ 9.c, 10 (Md. decl.); ECF 5-27, ¶ 11 (Mich. decl.); ECF 5-44, ¶ 15 (Wash.

decl.). By cutting more than 80 percent of the programs funded by America State and National



20
  The Court notes that Congress appropriated funds to “carry out” statutes that enshrine other
protections to prevent changes to AmeriCorps program policy from “adversely affect[ing]” service
programs. See, e.g., 42 U.S.C. § 12572(f)(3)(B) (“[AmeriCorps] shall by regulation establish
procedures to ensure the equitable treatment of national service programs that . . . would be
adversely affected by annual revisions in such national service priorities.”).


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grants and forcing the removal of roughly 30,000 AmeriCorps and VISTA members from service,

the agency clearly made “significant changes to . . . service delivery.”

       The same is true for the agency’s decision to remove NCCC members from service. On

April 15, 2025, the agency sent “all NCCC members” to their homes of record and placed them

on administrative hold pending their exit from the NCCC program. See ECF 1-2, at 2. As a result,

NCCC members providing disaster relief services were pulled out of service projects, and planned

service initiatives have been cancelled. ECF 5-28, ¶ 13 (Mich. decl.) ECF 5-30, ¶¶ 7–8 (N.C. decl.).

The states can no longer rely on NCCC members to assist them when disasters strike. These two

agency actions—individually and collectively—constitute “significant changes to . . . service

delivery.”

       The Court’s conclusion turns entirely on a reading of the plain and unambiguous statutory

language. So a peek into the legislative history of the notice-and-comment requirement is not

necessary. But it is enlightening. The requirement was included in a bipartisan amendment to the

bill funding AmeriCorps for Fiscal Year 2004. Senator Barbara Mikulski of Maryland, the

amendment’s principal author, explained its inception and purpose:

       [T]his amendment is simple and straightforward . . . . It . . . insists that any changes
       for rules for volunteer programs must have public comment. One of my guiding
       principles is that people have a right to know, to be heard and to be represented.
       The Mikulski-Bond amendment upholds this principle. It ensures that the public
       gets a meaningful chance to comment on decisions that affect their communities
       and the volunteers who serve them. Recently, National Service tried to change the
       rules for AmeriCorps. I was very troubled by the corporation’s actions for two
       reasons: the process and the policy. My first concern was the process or actually
       the lack of a process. The corporation acted behind closed doors without input from
       Congress, volunteer advocates, or the communities they serve. . . . My second
       concern is policy. The AmeriCorps rules changes would hurt communities who
       depend on volunteers by eliminating support for long-standing, successful
       volunteer programs and by increasing financial and administrative burdens on
       communities and volunteer organizations. . . . [I]t is clear that the corporation needs
       specific direction to ensure that the public has a right to be heard. . . . [T]he staff
       must not make rule changes without leadership and public comment. This



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       amendment is good process, and good policy. It makes sure that the public has an
       opportunity to comment on any changes to National Service programs.

149 Cong. Rec. S14507 (daily ed. Nov. 12, 2003) (statement of Sen. Mikulski) (emphases added).

The catalyst for the notice-and-comment requirement was to prevent AmeriCorps from pulling the

rug out from under volunteer organizations and the communities they serve—exactly what

occurred here when the agency “acted behind closed doors” to make a change in service delivery

and “eliminat[ed] support for long-standing, successful volunteer programs” without affording the

public the opportunity to comment “on decisions that affect [their] communities and the volunteers

who serve them.” See id.

       The termination of AmeriCorps grants and programs, the exiting of AmeriCorps members,

and the removal of NCCC members constitute “significant changes to . . . service delivery.” By

law, the agency could only make those changes through public notice-and-comment rulemaking. 21

Because the agency did not do so, the States have shown a likelihood of success that the agency

actions were contrary to law, arbitrary and capricious, and without observance of procedures

required by law, in violation of the APA. 22



21
   As the defendants point out, the APA’s notice-and-comment requirements do not apply to “a
matter relating to agency management or personnel or to . . . grants.” 5 U.S.C. § 553(a)(2).
However, the APA is not the only source of procedural requirements for agency action. Indeed, the
APA itself acknowledges as much. See 5 U.S.C. § 553(b) (exempting certain agency rules from
rulemaking requirements “[e]xcept when notice or hearing is required by statute” (emphasis
added)). If either of the agency actions challenged here is exempted from the APA’s notice-and-
comment requirement, that exemption is preempted by the more specific language in the
appropriations act.
22
   None of the parties discusses what notice-and-comment rulemaking procedures AmeriCorps
must follow. Under the APA, notice-and-comment rulemaking requires a notice of proposed
rulemaking in the Federal Register, which must provide, among other things, “the terms or
substance of the proposed rule or a description of the subjects and issues involved” and the
agency’s legal authority, and an opportunity to submit “written data, views, or arguments,” which
must be “consider[ed]” by the agency. 5 U.S.C. § 553. Whatever notice-and-comment procedures
AmeriCorps must follow, there is no dispute that it followed none here.


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        B.      Irreparable Harm

        To obtain a preliminary injunction, the States must show that they likely will suffer

irreparable harm if the agency actions are not enjoined. Winter, 555 U.S. at 22. “To establish

irreparable harm, the movant must make a ‘clear showing’ that it will suffer harm that is ‘neither

remote nor speculative, but actual and imminent’” and that the harm “cannot be fully rectified by

the final judgment after trial.” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d 197,

216 (4th Cir. 2019) (first quoting Direx Isr., Ltd. v. Breakthrough Med. Corp., 952 F.2d 802, 812

(4th Cir. 1991); and then quoting Stuller, Inc. v. Steak N Shake Enters., Inc., 695 F.3d 676, 680 (7th

Cir. 2012)). Though “a procedural injury standing alone is insufficient to support a finding of

irreparable harm, . . . it may be sufficient if it also detrimentally affects some other concrete interest

of the plaintiffs.” Ass’n of Cmty. Cancer Ctrs., 509 F. Supp. 3d at 500 (citing Summers, 555 U.S.

at 496). “Where a Plaintiff has been deprived of notice and the opportunity ‘to have their comments

considered prior to the promulgation of a rule which threatens’ serious harms to their interests,

they have suffered ‘irreparable harm.’” Am. Fed. of Teachers v. Dep’t of Educ., No. SAG-25-628,

2025 WL 1191844, at *22 (D. Md. Apr. 24, 2025) (quoting Ass’n of Cmty. Cancer Ctrs., 509 F.

Supp. 3d at 501).

        In similar cases, courts have found that plaintiffs asserting a notice-and-comment APA

violation were likely to suffer irreparable harm if the agency action was not enjoined. For example,

in Northern Mariana Islands v. United States, a district court granted a preliminary injunction

enjoining enforcement of a new rule promulgated without proper notice-and-comment procedures.

In that case, the Commonwealth of the Northern Mariana Islands, a U.S. territory, relied heavily

on foreign workers who would be ineligible to enter the United States under federal immigration

law. 686 F. Supp. 2d 7, 11–12 (D.D.C. 2009). When Congress enacted legislation to make




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immigration policy more uniform, it established a transition period for the territory that involved

a permit system and gave the Secretary of DHS broad authority to determine the number and

allocation of permits issued under the new law. Id. at 12. One month before the transition period

began, DHS announced an interim rule that would go into effect at the start of the transition period

and would establish certain permit requirements, including a numerical limit on the number of

permits and conditions for employers to utilize them. Id. at 12–13. DHS published notice of the

interim rule and invited comments but “acknowledged . . . that the interim rule w[ould] take effect

without being revised to account for any comments . . . .” Id. at 13. The court found that DHS

likely violated the APA by issuing the interim rule without considering comments from interested

parties, including the territory. Id. This procedural violation was an “actionable harm” that could

not “be cured by ultimate success on the merits.” Id. at 17. The rule would “dramatically alter the

[territory’s] current system for admitting nonresident guestworkers, who constitute two-thirds of

the . . . private workforce.” Id. The court found that DHS’s failure to engage in notice-and-

comment rulemaking “impaired the [territory’s] ability to protect its interests” and that “the

damage done by DHS’[s] violation of the APA cannot be fully cured by later remedial action.” Id.

at 18. “Once the program structured by the Rule has begun operation . . . DHS is far less likely to

be receptive to comments,” so without a preliminary injunction to prevent the rule from taking

effect, the territory “w[ould] never have an equivalent opportunity to influence the Rule’s

contents.” Id. at 18–19. Since the new rule—which had not “been tested via exposure to diverse

public comment”—would radically change the territory’s labor market, the territory would be

irreparably harmed by the rule if it were not enjoined. See id. at 18 (quoting Env’t Integrity Project

v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005)).




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        Similarly, in Association of Community Cancer Centers, the district court found that

organizations representing health care stakeholders such as providers, patients, and pharmaceutical

companies would suffer irreparable harm if an agency action subject to a notice-and-comment

rulemaking requirement was not enjoined. The Centers for Medicare & Medicaid Services

(“CMS”) within the U.S. Department of Health and Human Services (“HHS”) published a rule

establishing a new Medicare reimbursement scheme but did not provide an opportunity to

comment before the rule’s effective date. 509 F. Supp. 3d at 488–89. The plaintiffs sued the HHS

Secretary, alleging an APA violation for failure to engage in notice-and-comment rulemaking. Id.

at 490. They moved for a temporary restraining order roughly three weeks before the new

reimbursement scheme was scheduled to take effect. Id. at 488. The court granted the motion and

temporarily enjoined enforcement of the rule. Id. After finding that the rule likely violated the

APA, the court also found that the plaintiff organizations were “likely to suffer irreparable harm

absent injunctive relief.” Id. at 499. One such harm was the inability to participate in notice-and-

comment procedures before CMS promulgated a rule that would “‘dramatically alter’ the

pharmaceutical market and Medicare Part B.” Id. at 501. The court noted that “[o]nce the new

pricing scheme goes into effect . . . the plaintiffs will likely never have ‘an equivalent opportunity

to influence the Rule’s contents.’” Id. (quoting Northern Mariana Islands, 868 F. Supp. 2d at 18–

19). This amounted to “significant procedural injuries related to . . . impending economic harms,”

such as reduced revenue that would be unrecoverable damages due to sovereign immunity and that

“threaten[ed] ‘the very existence’ of at least some of the organizational plaintiffs’ members’

businesses.” Id. at 500 (citations to record omitted) (quoting Otsuka Pharm. Co. v. Burwell, No.

GJH-15-852, 2015 WL 1962240, at *11 (D. Md. Apr. 29, 2015)). Thus, the plaintiffs were

“deprived of the ability to have their comments considered prior to promulgation of a rule which




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threaten[ed] . . . to cause severe economic losses and to shutter operations that provide critical

medical care.” Id. at 501. That was irreparable harm. 23

       These cases are persuasive, even if they are not directly on point. In Northern Mariana

Islands and Association of Community Cancer Centers, the plaintiffs knew about the intended rule

changes before they occurred because the agency gave them notice. The problem in those cases

was that the plaintiffs were not given an opportunity to comment on the proposed rules before they

would take effect. So, courts intervened and enjoined the implementation of the rules until notice-

and-comment procedures occurred. This case is different. Here, the States had no clue about the

agency actions until they were abruptly announced. Out of the blue, AmeriCorps notified them that

their grants were terminated, that AmeriCorps members had to be exited or removed, and that all

NCCC members were being removed from service. By the time the States received notice of these

agency actions, the ensuing harm had begun. Still, Northern Mariana Islands and Association of

Community Cancer Centers underscore a principle that applies here: To establish irreparable harm

from the notice-and-comment violation, the States must show that the agency actions, taken

without engaging in notice-and-comment rulemaking, detrimentally affected their concrete

interests and that, without an injunction, their injuries cannot be adequately remedied by a final



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   Other courts also have issued preliminary injunctions after finding agency actions, if not
enjoined, would cause irreparable harm to plaintiffs who did not get notice and an opportunity to
comment on the action. See, e.g., Los Padres Forestwatch v. U.S. Forest Serv., 776 F. Supp. 2d
1042, 1051–52 (N.D. Cal. 2011) (issuing preliminary injunction after finding irreparable harm
from government’s “failure to solicit any public or interagency comment prior to approving the
Project” that would clear vegetation in Los Padres National Forest because a “less-than-fully-
informed-choice” by decisionmakers would increase the risk to the environment and because “the
Project potentially threaten[ed] certain critical habitat and species”); Am. Fed’n of Teachers, 2025
WL 1191844, at *22–23 (issuing preliminary injunction after finding irreparable harm from
deprivation of a union’s right to comment on Dear Colleague letter from Department of Education
because the deprivation could “suppress[] . . . First Amendment activity” and because, if they had
been allowed to comment, “they could have raised concerns about the Letter conflicting with state
standards” and its chilling effect on speech).


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judgment. See Ass’n of Cmty. Cancer Ctrs., 509 F. Supp. 3d at 500 (citing Summers, 555 U.S. at

496). The States have made that showing.

               1. AmeriCorps Program Closures

       On April 25, 2025, AmeriCorps closed over 1,000 AmeriCorps programs by terminating

grants and requiring grantees to exit the AmeriCorps members and remove VISTA members

working on the grant-funded programs. The bulk of these programs were funded by grants awarded

to state service commissions and state instrumentalities. These grant-funded programs were

selected by states to deliver services to their citizens with the help of AmeriCorps and VISTA

members. The States have shown that they will suffer irreparable harm from the closure of these

AmeriCorps programs.

       Grant terminations have caused AmeriCorps-funded programs to cease or significantly

curtail operations. For example, the California state service commission directed an AmeriCorps-

funded program “to pause all activities.” ECF 5-5, ¶ 9. In Colorado, several seasonal “initiatives

supporting the stewardship of Colorado’s wildlands, including land stewardship, forest

monitoring, wildland fire mitigation, supporting wildlife habitat, and reintroduction of native

plants” will not occur in summer 2025 “without immediate relief.” ECF 5-8, ¶ 52.a. The Executive

director of Kentucky’s state service commission declared that the commission “does not possess

the financial resources necessary to absorb or replace the loss of these terminated grants,” and “[a]s

a result, organizations that depend heavily on AmeriCorps funding to deliver essential services

now face an immediate and critical threat to their operations,” with “[m]any . . . forced to

significantly scale back or, in some cases, cease operations entirely.” ECF 5-18, ¶ 21. In Maryland,

a university’s service program funded by the state’s formula grant allotment explained that “there

is simply no way the University can continue to operate the program this year unless AmeriCorps’s




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termination decision is reversed.” ECF 5-22, ¶ 10. New Jersey’s state service commission has

issued stop-work orders for AmeriCorps programs in the state due to grant terminations. ECF 5-

31, ¶ 20. In Rhode Island, grant terminations “will shutter summer education opportunities for

some Rhode Island youth” and “shut down seasonal programming targeted at improving

nutritional outcomes for Rhode Islanders.” ECF 5-39, ¶¶ 23–24. By statute, these AmeriCorps

programs provide services to communities that are not otherwise provided. See 42 U.S.C.

§ 12637(a)(1) (AmeriCorps funding “shall be used only for a program that does not duplicate, and

is in addition to, an activity otherwise available in the locality of such program.”).

       The loss of AmeriCorps members who worked on the AmeriCorps-funded programs is

another irreparable harm. AmeriCorps members are not fungible. They have certain expertise and

community ties and thus are not interchangeable with other personnel who may be able to step in

and serve. In fact, AmeriCorps members are prohibited by law from “displac[ing]” employees or

other volunteers at the organizations where they serve, making them a unique resource to state

service programs. See id. § 12637(b)(1). Some members have specialized skills. For instance,

closure of an AmeriCorps program funded by Massachusetts’s formula allotment will result in the

loss of educators who speak Portuguese or Spanish, “result[ing] in fewer educators who represent

the broader student population in the district.” See ECF 5-19, ¶ 15. The loss of these members not

only disrupts programs—it threatens to shutter them altogether. For example, Easterseals

Wisconsin will be unable to provide summer recreation and therapy activities for veterans and

individuals with disabilities without AmeriCorps members. ECF 5-45, ¶ 19. Another Wisconsin

program at the Racine Zoo cannot offer students summer science education programming, and the

City of Green Bay’s Parks and Recreation Department will have to cut back on summer activities.

Id. Exited members who have built relationships with community members will sever essential




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ties between these programs and the populations they serve. In some states, AmeriCorps members

served in school settings, and “[s]topping service before the end of the school year will be

disruptive to students, teachers, and administrators. Students have bonded and formed

relationships and built trust with . . . [m]embers over the course of the school year . . . .” See, e.g.,

ECF 5-37, ¶ 11 (Pa. decl.). The trust that these members have built with the community members

is vital to programs that serve some of the States’ most vulnerable populations. For example, in

Pennsylvania, the loss of AmeriCorps members means that “veterans in Butler County will be

without [m]embers with whom they have built trusting relationships.” ECF 5-38, ¶ 28. A state

service commission administrator in Colorado declared that even if the commission had the

resources to replace AmeriCorps members serving in its Youth Mental Health Corps (“YMHC”),

a mental health outreach program, “the relationships that have been formed over the past year

between YMHC service members and their clients cannot simply be replaced or restarted without

significant damage to the progress made with this vulnerable population.” ECF 5-8 ¶ 50(e). The

abrupt exiting of members and erosion of trust built between service programs and the community

will have a detrimental impact on these programs absent immediate injunctive relief. See HIAS,

Inc. v. Trump, 985 F.3d 309, 326 (4th Cir. 2021) (“[E]ven if those local affiliates survive, the

community connections they have developed are likely to erode in non-consenting jurisdictions

where refugees no longer will be placed. These injuries would be significant and irreparable in the

absence of an injunction.”).

        The same goes for VISTA members. The States have shown that VISTA members cannot

be easily replaced by other personnel. See, e.g., ECF 5-12, ¶ 24 (Del. decl.) (“AmeriCorps VISTA

members provide nonprofit organizations with high-level professional skills that would otherwise

be inaccessible due to financial constraints. . . . The elimination of VISTA stipends and support




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removes the financial infrastructure that makes this talent accessible, leaving small nonprofits

without the means to fill these gaps.”). The loss of VISTA members has curtailed state service

projects. See, e.g., ECF 5-15, ¶ 16 (noting that Hawai‘i does not have the resources to replace

VISTA members’ climate resilience work in the state); ECF 5-36, ¶ 22 (Or. decl.) (“The terminated

VISTA members worked on assignments to build sustainable public health programs and systems

that ensure health equity, community resiliency, and improved health outcomes. The termination

of [the VISTA] program . . . brings this program to an abrupt halt.”). Like AmeriCorps members,

the loss of VISTA members poses a significant threat to state service projects that cannot be

remedied by a final judgment.

       The States cannot, as the defendants suggested at the motions hearing, simply pay

AmeriCorps members to remain in their service programs. The States and subgrantees do not have

the resources to offer AmeriCorps members the same benefits they received directly from

AmeriCorps, such as the education benefit. See, e.g., ECF 5-33, ¶ 16 (New Mexico state service

commission “does not have the resources to offer comparable benefits to full-time service

members absent AmeriCorps funding” so “the loss of AmeriCorps funds will lead to termination

of service members’ benefits and prevent some or all of those AmeriCorps service members from

continuing to serve on a full-time basis”); ECF 5-10, ¶ 25 (Del. decl.) (“[Elimination of

AmeriCorps member benefits] will severely limit organizations’ ability to recruit qualified

individuals, forcing them to rely solely on unpaid volunteers. . . . [M]any organizations may need

to create new paid positions to fulfill the responsibilities previously handled by AmeriCorps

members, but at a much higher cost. Given that most of these organizations operate as nonprofits

or state-funded entities, the financial burden of staffing these roles could prove insurmountable.”).




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Any ultimate relief obtained through this litigation cannot remedy the harm from the loss of

AmeriCorps members who were exited from the terminated programs.

       As these declarations show, the States have been “deprived of the ability to have their

comments considered prior to” the termination of AmeriCorps programs and that “threatens . . . to

shutter operations” and the “‘very existence’ of at least some of the. . . plaintiffs’ [programs].” See

Ass’n of Cmty. Cancer Ctrs., 509 F. Supp. 3d at 500 (citations to record omitted) (quoting Otsuka

Pharm. Co., 2015 WL 1962240, at *11). The damage to these AmeriCorps-funded programs

caused by the agency’s actions cannot be cured by later remedial action or a final judgment.

       Further, the sudden mass grant termination, without any prior notice, has forced many of

the States to scramble to fill gaps in services, to deal with the fallout of the mass exiting of

members, and to close out the grants they administer. In California, the abrupt termination of 96.7

percent of the state service commission’s subgrant awards has required the commission to

undertake an exiting process, which is typically staggered based on service project end dates, for

all 5,656 AmeriCorps members at once. ECF 92-2, ¶ 35. And as an administrator in Pennsylvania’s

service commission explained, since the grants were terminated, the commission’s team is

“singularly focused on managing the fallout from this unexpected and unprecedented situation.”

ECF 5-38, ¶ 23. Other states will have to come up with alternative programs to address gaps left

by the withdrawal of funds and programs. See, e.g., ECF 92-2, ¶ 34(a) (noting that the termination

of AmeriCorps grant would force a rural California county to “quickly design and implement an

alternate program to provide educational services, including Individualized Education Program

(IEP) services mandated for special education students”); ECF 5-5, ¶ 12(b) (“California laws

related to wildfire and forest resilience include requirements for defensible space around homes

and buildings, community plans for escape routes and emergency response, promotion of




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prescribed burns and other forms of fuel reduction, along with large budget allocations for fire

prevention and response. . . . If the grant termination is allowed to stand, either the work

GrizzlyCorps does to help California meet the requirements of these laws will not get done, or the

state will need to do it at its own expense.”). This “diversion of resources away from . . . core

missions” to gap-fill in the absence of AmeriCorps funding is irreparable harm. See HIAS, Inc.,

985 F.3d at 326; see also District of Columbia v. U.S. Dep’t of Agric., 444 F. Supp. 3d 1, 42

(D.D.C. 2020) (explaining that “harms from the forced diversion of resources” have been

“recognized as irreparable harm in other suits” (collecting cases)); Maryland v. U.S. Dep’t of

Agriculture, No. JKB-25-0748, 2025 WL 800216, at *20 (D. Md. Mar. 13, 2025) (“The States’

diversion of resources as a result of the lack of notice also constitutes an irreparable harm.”); Am.

Fed’n of Gov’t Emps., AFL-CIO v. Trump, No. 25-CV-03698, 2025 WL 1358477, at *22 (N.D.

Cal. May 9, 2025) (“Further, facing the potential loss of federal funding, the local government

plaintiffs experience irreparable harm when they are forced to plan how to mitigate that loss.”),

vacated on recons. in part on other grounds, 2025 WL 1413762 (N.D. Cal. May 15, 2025).

       Also, States were deprived of their opportunity to comment on the closure of AmeriCorps

programs funded by awards to non-state entities within their states. By statute, every organization

that applies for AmeriCorps State and National direct grants must “consult with and coordinate

activities with the State Commission for each State in which the program will operate . . . .” 42

U.S.C. § 12583(c)(3); see also 45 C.F.R. § 2550.80(a) (state service commissions required to

develop “comprehensive national and community service plan[s]” that “must provide for effective

coordination of funding applications submitted by the State and other organizations within the

State under the national service laws”). According to AmeriCorps, “[t]his consultation is to ensure

coordination and the effective use of national service resources.” See Notice of Funding




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Opportunity, “Fiscal Year (FY) 2025 AmeriCorps State and National Competitive Grants” 17

[https://perma.cc/P8EB-MVGW]. Further, before AmeriCorps awards national direct grants to

non-state entities, it asks state service commissions for input on the grant applicants proposing

AmeriCorps programs in their state. See id. at 18 (explaining AmeriCorps “will ask for

Commission input on National Direct applicants, except Indian Tribes, proposing to operate in

their state/territory” and noting the opportunity to voice support and opposition and provide

comments); see also Notice of Funding Opportunity, “Fiscal Year (FY) 2024 AmeriCorps State

and National Competitive Grants” 20 [https://perma.cc/ZP3V-N5RM] (AmeriCorps “will solicit

Commission input on National Direct applicants, except Indian Tribes, proposing to operate in

their state/territory” and noting the opportunity to voice support and opposition and provide

comments); Notice of Funding Opportunity, “Fiscal Year (FY) 2023 AmeriCorps State and

National Grants” 20 [https://perma.cc/4Y6Q-AHYJ] (same); Notice of Funding Opportunity,

“Fiscal Year (FY) 2022 AmeriCorps State and National Grants” 20 [https://perma.cc/DT6G-

VKT9] (same). This coordination and feedback loop among state service commissions, non-state

entities, and AmeriCorps emphasizes the centrality of state service commissions to the ecosystem

of service programs in each state. Congress, by requiring national direct grant applicants to consult

and coordinate with state service commissions, recognized the importance of coordinating service

initiatives within states. AmeriCorps has further affirmed states’ interests in grants awarded

directly to non-state entities within their borders by requesting feedback from state service

commissions before it makes national direct awards. By abruptly terminating funding and

removing AmeriCorps members from programs operating in their borders states, the States were

deprived of the opportunity to comment on the impact of these AmeriCorps program closures on

their broader service initiatives.




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       In sum, the abrupt mass program closure and the exiting of AmeriCorps members without

notice-and-comment rulemaking are causing adverse effects to concrete interests that cannot be

remedied by a final judgment. Because the agency did not provide notice and an opportunity to

comment before it made significant changes to service delivery, the States were unable to voice

their concerns about these changes, and they have been forced to reckon with program closures,

the loss of irreplaceable service providers, and the diversion of state resources. Instituting this

massive change in service delivery without notice-and-comment rulemaking “impaired the

[states’] ability to protect [their] interests,” and “the damage done by [this likely] violation of the

APA cannot be fully cured by later remedial action.” See Northern Mariana Islands, 686 F. Supp.

2d at 18. Because of the cyclical nature of grants and the limited duration of AmeriCorps members’

service terms, the opportunity to weigh in before AmeriCorps irreparably disrupts service delivery

for the present grant cycle and member terms cannot be adequately afforded at a later date. Just as

the Northern Mariana Islands Court found “DHS [wa]s far less likely to be receptive to comments”

after “the program structured by the Rule has begun operation,” AmeriCorps cannot adequately

consider the States’ concerns about the disruption to the delivery of services in the current grant

cycle at the end of litigation. See id. The States have shown irreparable harm from the mass

AmeriCorps program closures and the exiting of service members without notice-and-comment

rulemaking. 24



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   The defendants argue that Nevada and the District of Columbia have not made any claims of
irreparable harm because no declarations were submitted on their behalf. The record before the
Court does not support such a finding. Nevada had eight of its AmeriCorps programs “shut down.”
ECF 1, ¶ 191. The District of Columbia also had several AmeriCorps programs closed out,
including multiple American National Red Cross formula subgrantee programs and a formula grant
program providing foster care mentoring and mediation. See ECF 1-6, at 11, 14, 15. Neither
Nevada nor the District of Columbia was afforded the opportunity to comment before the sudden
mass termination of AmeriCorps programs. Given the extensive declarations from similarly
situated states that “have demonstrated, through record evidence, several highly predictable


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                2. Removal of NCCC Members

        The States also have shown irreparable harm from the removal of NCCC members from

service.

        NCCC members provide non-discretionary services that the states will have to provide in

their absence. Recently, the NCCC has aided some States in disaster relief, such as responding to

the California wildfires and New Mexico floods. See ECF 124-1, ¶ 17 (AmeriCorps Emps. Union

Pres. decl.). NCCC members also have assisted with Hurricane Helene response and recovery in

North Carolina. ECF 5-30, ¶ 8. The loss of NCCC members could “delay future hurricane recovery

efforts” as New Jersey heads into hurricane season, ECF 5-31, ¶ 13, and has already caused

Michigan to “abandon” plans to deploy service teams to assist communities impacted by the 2025

ice storm, ECF 5-28, ¶ 12. In North Carolina, a warehouse that distributes donations to

communities hit by Hurricane Helene has “struggled to backfill volunteers to replace the

terminated NCCC service members, resulting in a backlog of incoming donations processing,

picking and packing” and an “overall delay in processing the inventory and disrupt[ion] . . . [in]

operational continuity.” ECF 5-30, ¶ 8. The absence of NCCC members has left a gap in these

States’ disaster relief efforts, and the resultant strain on state resources is an irreparable harm. See

California v. Azar, 911 F.3d 558, 572–73, 581 (9th Cir. 2018) (finding states suffered irreparable

harm from the economic impact of an interim final rule under which employers could refuse to




harms” from the failure to conduct notice-and-comment rulemaking, there is thus little reason to
believe Nevada and the District of Columbia “are not similarly situated and have not been and will
not be affected in the same ways.” See Maryland v. U.S. Dep’t of Agric., No. JKB-25-748, 2025
WL 973159, at *8 (D. Md. Apr. 1, 2025) (emphasis removed) (citing Weaver v. Henderson, 984
F.2d 11, 14 (1st Cir. 1993) (“At the preliminary injunction stage, it is, after all, the district court’s
duty—and its prerogative—to assess the facts, draw whatever reasonable inferences it might favor,
and decide the likely ramifications.” (cleaned up) (citation omitted)).


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cover workers’ contraception, a policy that was likely to put a strain on state programs providing

free or subsidized contraception); Pennsylvania, 930 F.3d at 574.

       As the litigation proceeds, the States cannot simply pause their current and forthcoming

disaster response efforts. They will have to fill this void with their own resources. The costs they

will incur cannot be recovered at the end of this litigation. See Mountain Valley Pipeline, 918 F.3d

at 366 (“Economic damages may constitute irreparable harm where no remedy is available at the

conclusion of litigation.”); see also 5 U.S.C. § 702; Ass’n of Cmty. Cancer Ctrs., 509 F. Supp. 3d

at 500 (“Because the government is protected by sovereign immunity and no monetary damages

are available, these severe economic losses can qualify as irreparable harm.”).

       The States have established that they likely will suffer irreparable harm if the agency

actions are not enjoined.

       C.      Balance of Equities and Public Interest

       The balance of the equities and the public interest “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009). To balance the equities, the Court

considers “the relative harms to [plaintiffs] and [defendants], as well as the interests of the public

at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305 (1991)

(Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980) (Brennan, J.,

in chambers)). These factors weigh in favor of a preliminary injunction.

       The States have shown that AmeriCorps likely violated the APA by failing to engage in

notice-and-comment rulemaking before terminating 1,031 AmeriCorps programs, exiting

thousands of AmeriCorps members, and removing more than 750 NCCC members from service.

“There is generally no public interest in the perpetuation of unlawful agency action.” League of

Women Voters v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016). Although the Court should not “collapse[]




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the first Winter factor—likelihood of success on the merits—with the merged balance of equities

and public interest factor,” USA Farm Lab., Inc. v. Micone, No. 23-2108, 2025 WL 586339, at *4

(4th Cir. Feb. 24, 2025), the factors overlap here. The likely unlawful agency action has

jeopardized or closed AmeriCorps-funded programs across the country. The affected AmeriCorps

programs provided important services to impoverished, hard-to-reach, and underserved

communities. See ECF 92-2, ¶ 34(c) (describing how AmeriCorps members at the American

National Red Cross, Los Angeles Region and in the California Emergency Response Corps worked

on improving emergency preparedness in vulnerable communities and how “[t]he loss of these

programs will make it even harder to meet the enormous need in communities facing disaster”);

ECF 5-8, ¶ 31 (“There is no region in Colorado that has not directly benefited from the

contributions of [AmeriCorps] members.”); ECF 5-42, ¶ 24 (“AmeriCorps programs are vital

lifelines for communities across Washington. Postponing the start of these programs would not

only disrupt services to schools, food banks, shelters, and other critical community outlets, but it

would adversely affect the AmeriCorps members and seniors who rely on timely engagement and

support.”). The likely unlawful agency action also has deprived tens of thousands of AmeriCorps

members of their service opportunities, living stipends, healthcare, childcare, and education

benefits. See ECF 5-5, ¶ 10 (noting that the termination notices have “uproot[ed] the lives of

members and key community services for California” and that some members have asked the

Commission “whether they would be able to afford rent”); ECF 5-36, ¶ 17 (Or. decl.) (discussing

loss of child care assistance and student loan forbearance status for AmeriCorps members); ECF

5-19, ¶ 12 (Mass. decl.) (describing risk that loss of childcare may force some AmeriCorps

members enrolled at Framingham State University to withdraw from the program, “leaving their

own education incomplete and depriving the classrooms where they served of quality teachers”).




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Correcting the unlawful changes in AmeriCorps service delivery is in the public interest. See CACI,

Inc.- Fed. v. U.S. Navy, 674 F. Supp. 3d 257, 279 (E.D. Va. 2023) (“There is a strong public interest

in curing the effects of the government’s unlawful acts.”).

         The defendants claim they will be harmed by a preliminary injunction because AmeriCorps

may be forced to distribute funds it cannot later recover and because granting a preliminary

injunction “would disrupt the agencies’ efforts to comply with Executive Orders” and “act as

responsible stewards of public funds.” ECF 106, at 35. These public funds were allocated to

AmeriCorps by Congress “to carry out” the national service laws. See 2024 Appropriations Act,

138 Stat. at 694. In turn, AmeriCorps used the public funds to award grants to the states for service

projects that help local communities. If, at the end of this litigation, the government is vindicated

and cannot recover the funds that Congress appropriated for national service, the funds will have

been spent on improving the lives of everyday Americans: veterans, people with substance use

disorder, people with disabilities, children with learning differences, indigenous communities,

people impacted by natural disasters, and people trying to survive below the poverty line. Any

harm the defendants might face if the agency actions are enjoined pales in comparison to the

concrete harms that the States and the communities served by AmeriCorps programs have suffered

and will continue to suffer. The balance of the equities and the public interest heavily favors

preliminary injunctive relief.

         The States have established that they are entitled to a preliminary injunction.

   IV.      Scope of the Injunction

         “A preliminary injunction is an extraordinary remedy intended to protect the status quo and

prevent irreparable harm during the pendency of a lawsuit.” Di Biase v. SPX Corp., 872 F.3d 224,

230 (4th Cir. 2017). “[I]njunctive relief should be designed to grant the full relief needed to remedy




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the injury to the prevailing party,” but “it should not go beyond the extent of the established

violation.” Hayes v. N. State L. Enf’t Officers Ass’n, 10 F.3d 207, 217 (4th Cir. 1993). “Whenever

the extraordinary writ of injunction is granted, it should be tailored to restrain no more than what

is reasonably required to accomplish its ends.” S.C. Dep’t of Wildlife & Marine Res. v. Marsh, 866

F.2d 97, 100 (4th Cir. 1989) (quoting Consol. Coal Co. v. Disabled Miners, 442 F.2d 1261, 1267

(4th Cir. 1971)). That is, “a court must ensure a preliminary injunction is ‘no more burdensome to

the defendant than necessary to provide complete relief to the plaintiffs.’” Roe v. Dep’t of Def., 947

F.3d 207, 231 (4th Cir. 2020), as amended (Jan. 14, 2020) (quoting Madsen v. Women’s Health

Ctr., Inc., 512 U.S. 753, 765 (1994)). In fashioning injunctive relief, the Court must “tak[e] account

of ‘what is necessary, what is fair, and what is workable.’” North Carolina v. Covington, 581 U.S.

486, 488 (2017) (quoting New York v. Cathedral Acad., 434 U.S. 125, 129 (1977)).

       A.      Restoration of AmeriCorps Programs in Plaintiff States

       The States have demonstrated that they are likely to suffer irreparable harm from the mass

closure of AmeriCorps programs in their states without public notice-and-comment rulemaking.

To “protect the status quo and prevent irreparable harm during the pendency of [the] lawsuit,” the

Court will enjoin the defendants from effectuating and enforcing the April 25, 2025 termination of

grants and closure of AmeriCorps programs in the States. This relief does not extend to

AmeriCorps programs in non-party states (and the States have not asked to so extend the relief).

This relief requires the defendants to reinstate the terminated grants in the plaintiff states and to

return AmeriCorps members and VISTA members to service on those programs (if they are willing

and able to return). The agency must conduct public notice-and-comment rulemaking before

instituting significant changes in service delivery. The scope of the injunction is narrowly tailored




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to restore the AmeriCorps-funded programs in the plaintiff states to the status quo before the grants

were terminated and programs closed on April 25, 2025.

       This injunction does not prevent AmeriCorps from suspending or terminating individual

AmeriCorps grants due to failure to abide by the terms and conditions of individual grants or the

statutory requirements for grantees––provided that the agency follows the proper procedures for

doing so. See 42 U.S.C. § 12636(a); 45 C.F.R. § 2540.400. Likewise, AmeriCorps and VISTA

members still may be discharged from programs for cause or for compelling personal

circumstances as allowed under the respective program rules and consistent with the law. See 42

U.S.C. § 12593(c); 45 C.F.R. §§ 2522.230, 2556.400.

       B.      Return of NCCC Members to Service

       At least some of the States have made a clear showing of irreparable harm from the removal

of NCCC members from service in their jurisdictions. The NCCC is a national service corps, based

out of regional campuses, whose members are deployed to states within their respective regions

for short-term projects. See 42 U.S.C. § 12615. NCCC members are not assigned to individual

states for their full service terms. It is neither practical nor feasible to restrict the remedy to the

States who have been irreparably harmed. Nor can the Court confine relief to a particular region,

as all four regional campuses serve the plaintiff states. The Court cannot reasonably restrict the

service areas of a national service organization to the plaintiff states. Accordingly, the Court will

enjoin the defendants from effectuating and enforcing the April 15, 2025 removal of NCCC

members from service, require the agency to return the NCCC members to service (if they are

willing and able to return), and require the agency to engage in notice-and-comment rulemaking

before instituting this significant change in service delivery.




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        Just as the agency is permitted to, under appropriate circumstances, terminate individual

grants or discharge individual service members, the agency still retains the discretion to administer

the NCCC program, and the agency still may dismiss members within the bounds of its statutory

authority. See, e.g., 42 U.S.C. § 12615(f)(2)(B) (permitting campus directors to “dismiss a member

of the Corps from the Corps if the campus director determines that retention of the member in the

Corps will jeopardize the enforcement of the [campus director’s established standards of conduct]

or diminish the opportunities of other Corps members”).

        This remedy will provide “full relief needed to remedy the [States’] injury” while being

“no more burdensome to the defendant than necessary to provide complete relief to the plaintiffs.”

See Roe, 947 F.3d at 231 (quoting Madsen, 512 U.S. at 765).

   V.      Bond

        Under Federal Rule of Civil Procedure 65(c), a court may issue a preliminary injunction

“only if the movant gives security in an amount that the court considers proper to pay the costs

and damages sustained by any party found to have been wrongfully enjoined or restrained.” A

district court “retains the discretion to set the bond amount as it sees fit or waive the security

requirement.” Pashby v. Delia, 709 F.3d 307, 332 (4th Cir. 2013). “Where the district court

determines that the risk of harm is remote, or that the circumstances otherwise warrant it, the court

may fix the amount of the bond accordingly.” See Hoechst Diafoil Co. v. Nan Ya Plastics Corp.,

174 F.3d 411, 421 n.3 (4th Cir. 1999).

        The defendants ask the Court to set a bond “equal to the size of any payment that the Court

orders on a preliminary basis . . . .” ECF 106, at 36. The Court is not ordering the payment of a

sum certain. The Court is enjoining likely unlawful agency actions and ordering compliance with

the law. Compliance requires the defendants to reverse the significant changes in service delivery




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that AmeriCorps made without the statutorily required public notice-and-comment rulemaking.

The risk of harm to the defendants is remote.

       Moreover, the circumstances of this case warrant a nominal bond. The States have

challenged an abrupt and massive disruption to the NCCC’s service projects and hundreds of

AmeriCorps-funded service programs across the country. The AmeriCorps State and National

program has been gutted, leaving the States with a sudden and unexpected lack of necessary

funding; the state service commissions have been left reeling; and tens of thousands of Americans

volunteering to serve their fellow countrymen have been sent home. This is a quintessential public

interest lawsuit. Under these circumstances, the Court will impose a nominal bond of $100 per

plaintiff. This approach aligns with the approaches of other courts that have preliminarily enjoined

unlawful agency actions in public interest litigation. See, e.g., Richland/Wilkin Joint Powers Auth.

v. U.S. Army Corps of Eng’rs, 826 F.3d 1030, 1043 (8th Cir. 2016) (holding decision to waive bond

requirement was not abuse of discretion in environmental case in light of “the important public

interest in the enforcement of [federal environmental law]”); Barahona-Gomez v. Reno, 167 F.3d

1228, 1237 (9th Cir. 1999) (holding nominal bond was not abuse of discretion in light of the

“public interest underlying the litigation” and the government’s failure to submit evidence that

injunction would impose substantial cost); Am. Fed’n of State, Cnty., & Mun. Emps., AFL-CIO v.

Soc. Sec. Admin., No. ELH-25-0596, 2025 WL 1206246, at *73 (D. Md. Apr. 17, 2025) (imposing

nominal bond of $250 per plaintiff in data privacy case); Maryland v. U.S. Dep’t of Agric., No.

JKB-25-0748, 2025 WL 973159, at *40 (D. Md. Apr. 1, 2025) (noting that “a nominal bond is

common in public-interest litigation cases, as requiring plaintiffs to bear up front the total cost of

the alleged governmental wrongdoing will often be effectively to foreclosure judicial review

altogether” (internal quotation marks and citation omitted)); Am. Ass’n of Colls. for Teacher Educ.




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v. McMahon, No. JRR-25-702, 2025 WL 833917, at *25 (D. Md. Mar. 17, 2025) (imposing

nominal bond when the government defendants offered only “unsupported speculations” that the

government would be unable to recoup distributed funds at the end of litigation); J.S.G. ex rel.

Hernandez v. Stirrup, No. SAG-20-1026, 2020 WL 1985041, at *12 (D. Md. Apr. 26, 2020)

(setting a nominal bond in immigration habeas case when defendants failed to substantiate any

potential risk of financial harm); see also Defs. of Wildlife v. U.S. Fish & Wildlife Serv., 539 F.

Supp. 3d 543, 561 (D.S.C. 2021) (imposing bond of $100 because of public interest nature of

environmental suit); Maine v. U.S. Dep’t of Agric.. No. 25-cv-00131 -, 2025 WL 1088946, at *30

(D. Me. Apr. 11, 2025) (imposing nominal bond and collecting cases); cf. Hoechst Diafoil Co., 174

F.3d at 421 n.3 (explaining that “in some circumstances, a nominal bond may suffice”).

   VI.      Conclusion

         For the foregoing reasons, the States have shown that they are entitled to the extraordinary

remedy of a preliminary injunction. A separate Order shall issue.



June 5, 2025
________________                                              ______________________
Date                                                          Deborah L. Boardman
                                                              United States District Judge




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